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                  EXHIBIT 1
                                                         Case 4:19-cv-02033-YGR                Document 254-2 Filed 07/12/22 Page 2 of 19
                                                                        Exhibit 1: Withheld Documents Related to January 2, 2019 Earnings Pre-announcement




               A                B                  C             D                          E                           F                                     G                        H                                 I                                   J                                         K
                                                                             In re Apple Inc. Sec. Litig. , No. 4:19-cv-02033-YGR (N.D. Cal.), Defendants' Privilege Log Pursuant to Fed. R. Civ. P. 26, Highly Confidential
1
                                                                                                                                             Attorney Names Are Bolded
2
                                           The below-listed communications have been maintained as confidential by Apple in its internal systems, and to the best of Apple's knowledge, no unauthorized persons have received the communications.
3
4     ProdBegControl   ProdEndControl   PrivilegeType       DocDate      From                           To                                    Cc                         Bcc                            Subject                             Filename                         Privilege Description
                                                                                                                                                                                                                                                                             Draft investor letter reflecting legal advice from
26                                      AttorneyClient      2019-01-01 Tejas Gala's files                                                                                                                                                   01 01 edits 1115ampages.pdf      in-house counsel.
                                                                                                                                                                                                                                                                             Draft investor letter reflecting legal advice from
28                                      AttorneyClient      2019-01-02 Tejas Gala's files                                                                                                                                                   01_01 edits 845 pmpages.pdf      in-house counsel.
                                                                                                                                                                                                                                                                             Draft investor letter reflecting legal advice from
31                                      AttorneyClient      2018-12-24 Tejas Gala's files                                                                                                                                                   Letter v4 23 December 10pm.pages in-house counsel.
                                                                                                                                                                                                                                                                             Draft investor letter reflecting legal advice from
32                                      AttorneyClient      2018-12-26 Adam Talbot's files                                                                                                                                                  Letter 26 December 200pm.pages in-house counsel.

                                                                                                                                                                                                                                                                                Document reflecting legal advice from in-house
                                                                                                                                                                                                                                            BoD call—-privileged and            counsel regarding board of directors call and pr
33                                      AttorneyClient      2018-12-17 Tim Cook's files                                                                                                                                                     confidential.rtfd                   announcement of revenue guidance miss.
                                                                       Sam Whittington                                                                                                                                                                                          Email providing legal advice from in-house
178                                     AttorneyClient      2018-08-23                                  Nancy Paxton                                                                                    Quarterly guidance                                                      counsel regarding quarterly guidance.
                                                                                                        Sam Whittington                                                                                                                                                         Email reflecting legal advice from in-house
179                                     AttorneyClient      2018-08-24 Nancy Paxton                                                                                                                     Re Quarterly guidance               Re Quarterly guidance.eml           counsel regarding quarterly guidance.
                                                                                                                                                                                                                                                                                Email providing legal advice from in-house
                                                                         Kate Adams                                                                                                                     Re BoD call—-privileged and         Re BoD call—-privileged and         counsel regarding board of directors call and pr
285                                     AttorneyClient      2018-12-17                                  Luca Maestri                          Tim Cook                                                  confidential                        confidential.eml                    announcement of revenue guidance miss.
                                                                                                                                                                                                                                                                                Email requesting legal advice from in-house
                                                                                                        Kate Adams                                                                                      Re BoD call—-privileged and         Re BoD call—-privileged and         counsel regarding board of directors call and pr
286                                     AttorneyClient      2018-12-16 Luca Maestr                                                            Tim Cook                                                  confidential                        confidential.eml                    announcement of revenue guidance miss.
                                                                                                                                                                                                                                                                                Email providing legal advice from in-house
                                                                         Kate Adams                                                                                                                     Re BoD call—-privileged and         Re BoD call—-privileged and         counsel regarding board of directors call and pr
287                                     AttorneyClient      2018-12-16                                  Tim Cook                              Luca Maestr                                               confidential                        confidential.eml                    announcement of revenue guidance miss.
                                                                                                        Kate Adams                                                                                                                                                              Email requesting legal advice from in-house
                                                                                                                                 Luca                                                                   BoD call—-privileged and            BoD call—-privileged and            counsel regarding board of directors call and pr
288                                     AttorneyClient      2018-12-16 Tim Cook                         Maestr                                                           Tim Cook                       confidential                        confidential.eml                    announcement of revenue guidance miss.
                                                                                                                                                                                                                                                                                Email requesting legal advice from in-house
                                                                                                                                              Kate Adams                                                Re BoD call—-privileged and         20181216-1514 Re BoD call—-         counsel regarding board of directors call and pr
289                                     AttorneyClient      2018-12-16 Luca Maestr                      Tim Cook                                                                                        confidential                        privileged and confidential.eml     announcement of revenue guidance miss.
                                                                                                                                                                                                                                                                                Email requesting legal advice from in-house
                                                                                                                                              Kate Adams                                                Re BoD call—-privileged and         Re BoD call—-privileged and         counsel regarding board of directors call and pr
290                                     AttorneyClient      2018-12-17 Luca Maestr                      Tim Cook                                                                                        confidential Draft #2               confidential Draft #2.eml           announcement of revenue guidance miss.
                                                                                                                                                                                                                                                                                Email reflecting and requesting legal advice from
                                                                                                        Luca Maestri                                                                                                                                                            in-house counsel regarding board of directors
                                                                                                        Kate Adams                                                                                      BoD call—-privileged and            BoD call—-privileged and            ca l and pre-announcement of revenue guidance
291                                     AttorneyClient      2018-12-17 Tim Cook                                                                                                                         confidential Draft #2               confidential Draft #2.eml           miss.

                                                                                                        Tim Cook                    Luca Kyle Andeer                                                    Privileged and confidential - Q1    20181217-0844 Privileged and
                                                                         Kate Adams                     Maestr                    ; Saori Sam Whittington                                               Guidance Update - Legal             confidential - Q1 Guidance Update - Email providing legal advice from in-house
297                                     AttorneyClient      2018-12-17                                  Casey                                                                                           Considerations                      Legal Con.eml                       counsel regarding guidance revision.
                                                                                                                                                                                                                                                                                Email reflecting and requesting legal advice from
                                                                                                        Luca Maestri                     ;                                                                                                                                      in-house counsel regarding board of directors
                                                                                                        Kate Adams                                                                                      BoD call—-privileged and            BoD call—-privileged and            ca l and pre-announcement of revenue guidance
298                                     AttorneyClient      2018-12-17 Tim Cook                                                                                          Tim Cook                       confidential—-Draft #3              confidential—-Draft #3.eml          miss.
                                                                                                                                                                                                                                                                                Email providing legal advice from in-house
                                                                         Kate Adams                     Tim Cook                   ; Luca                                                               Re BoD call—-privileged and         Re BoD call—-privileged and         counsel regarding board of directors call and pr
299                                     AttorneyClient      2018-12-17                                  Maestr                                                                                          confidential—-Draft #3              confidential—-Draft #3.eml          announcement of revenue guidance miss.
                                                                                                                                                                                                                                                                                Email reflecting legal advice from in-house
                                                                                                                                              Kate Adams                                                Re BoD call—-privileged and         Re BoD call—-privileged and         counsel regarding board of directors call and pr
300                                     AttorneyClient      2018-12-17 Luca Maestr                      Tim Cook                                                                                        confidential—-Draft #3              confidential—-Draft #3.eml          announcement of revenue guidance miss.

                                                                                                        Art Levinson; James Bell; Ron                                                                   Update - privileged and confidential Update - privileged and confidential
                                                                         Kate Adams                     Sugar; Al Gore; Bob Iger; Sue                                                                   attorney client communication -      attorney client communication -      Email providing legal advice from in-house
327                                     AttorneyClient      2018-12-19                                  Wagner Andrea Jung                    Tim Cook                                                  attorney work product                attorney work product.eml            counsel regarding guidance update.
                                                                                                                                                                                                        Fwd Update - priv leged and          Fwd Update - privileged and
                                                                                                                                                                                                        confidential - attorney client       confidential - attorney client
                                                                         Kate Adams                                                                                                                     communication - attorney work        communication - attorney work        Email providing legal advice from in-house
328                                     AttorneyClient      2018-12-19                                  Tim Cook                                                                                        product                              product.eml                          counsel regarding guidance update.
                                                                                                                                                                                                                                                                                  Email sent by employee acting under the
                                                                                                        Luca Maestri                     ;    Steve Dowling                                                                                                                       direction of in-house counsel seeking advice
                                                                                                        Sam Whittington                       Saori Casey                                                                                    20181220-1046 Fwd iPhone             from in-house counsel regarding guidance
329                                     AttorneyClient      2018-12-20 Nancy Paxton                                                           Matt Blake                                                Fwd iPhone installed base            insta led base.eml                   update.
                                                                                                                                                                                                                                                                                  Document attached to ema l sent by employee
                                                                                                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                                                                                                             MonthlyInstallBaseUpdate_TimeWit seeking advice from in-house counsel regarding
330                                     AttorneyClient                                                                                                                                                                                       hFirstLast.key                       guidance update.
                                                                         Sam Whittington                                                                                                                                                                                          Email reflecting legal advice from in-house
332                                     AttorneyClient      2018-12-20                                  Saori Casey                                                                                     Timing                               20181219-1747 Timing.eml             counsel regarding guidance update.

                                                                                                                                              Sam Whittington
                                                                                                        Kate Adams
                                                                                                                                 Steve        Nancy Paxton                                                                                                                Email requesting legal advice from in-house
335                                     AttorneyClient      2018-12-21 Saori Casey                      Dowling                               Matt Blake                                                New Numbers                         20181220-1729 New Numbers.eml counsel regarding guidance revision.
                                                                                                                                                                                                                                                                          Attached document sent for the purpose of
                                                                                                                                                                                                                                            Rev by Country - 2.0 12.20.18 requesting legal advice regarding guidance
336                                     AttorneyClient      2014-12-10                                                                                                                                                                      415pm.xlsx                    revision.
                                                                                                                                                                                                                                                                          Attached document sent for the purpose of
                                                                                                                                                                                                                                                                          requesting legal advice regarding guidance
337                                     AttorneyClient      2018-12-21                                                                                                                                                                      PastedGraphic-5.pdf           revision.
                                                                                                                                                                                                                                                                          Attached document sent for the purpose of
                                                                                                                                                                                                                                                                          requesting legal advice regarding guidance
338                                     AttorneyClient      2018-12-11                                                                                                                                                                      CTG Analysis 12.20.18 v1.xlsx revision.




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      A   B              C           D                      E                   F                                  G                    H                    I                                  J                                        K

                                                                                                   Sam Whittington                                                                                               Email prepared by employees acting under the
                                                                                                                                                                               20181221-2018 Re Channel          direction of in-house counsel regarding
347           AttorneyClient     2018-12-22 Saori Casey         Matt Blake                         Nancy Paxton                             Re Channel inventory               inventory.eml                     guidance.

                                                                                                   Sam Whittington                                                                                               Email prepared by employees acting under the
                                                                                                                                                                               20181221-1457 Channel             direction of in-house counsel regarding
348           AttorneyClient     2018-12-21 Matt Blake          Saori Casey                        Nancy Paxton                             Channel inventory                  inventory.eml                     guidance.

                                                                                                   Steve Dowling
                                                                                                   Nancy Paxton
                                                                                                   Saori Casey
                                                                                                   Adam Talbot
                                                                                                                          Kyle
                                                                                                   Andeer                        Sam
                                                                                                   Whittington                                                                 20181223-1237 Re Investor letter
                                                                Kate Adams                                                                  Re Investor letter DRAFT --        DRAFT -- priv leged and          Email requesting legal advice from in-house
361           AttorneyClient     2018-12-23 Luca Maestr                                            Matt Blake                               privileged and confidential        confidential.eml                 counsel regarding draft investor letter.

                                                                                                   Luca Maestr
                                                                                                   Nancy Paxton
                                                                                                   Saori Casey
                                                                                                   Adam Talbot
                                                                                                                          Kyle
                                                                                                   Andeer                         Sam
                                                                                                   Whittington                                                                 20181223-1124 Re Investor letter
                                              Kate Adams                                                                                    Re Investor letter DRAFT --        DRAFT -- priv leged and          Email providing legal advice from in-house
362           AttorneyClient     2018-12-23                     Steve Dowling                      Matt Blake                               privileged and confidential        confidential.eml                 counsel regarding draft investor letter.
                                                                                                   Nancy Paxton
                                                                                                   Saori Casey
                                                                                                   Adam Talbot
                                                                                                                          Kyle
                                                                                                   Andeer                         Sam
                                                                Luca Maestri               ;       Whittington                                                                  20181223-1109 Investor letter
                                                                Kate Adams                                                                  Investor letter DRAFT -- privileged DRAFT -- priv leged and          Email requesting legal advice from in-house
363           AttorneyClient     2018-12-23 Steve Dowling                                          Matt Blake                               and confidential                    confidential.eml                 counsel regarding draft investor letter.
                                                                                                                                                                                                                 Attached draft investor letter reflecting legal
                                                                                                                                                                                                                 advice from in-house counsel sent for the
364           AttorneyClient                                                                                                                                                   Letter 23 December 11am.pages     purpose of obtaining legal advice.

                                                                                                   Steve Dowling
                                                                                                   Nancy Paxton
                                                                                                   Saori Casey
                                                                                                   Adam Talbot
                                                                                                                          Kyle
                                                                                                   Andeer                   ; Sam
                                                                                                   Whittington                                                                 20181223-1547 Re Investor letter
                                                                Kate Adams                                                  ; Matt          Re Investor letter DRAFT --        DRAFT -- priv leged and          Email requesting and reflecting legal advice from
365           AttorneyClient     2018-12-23 Luca Maestr                                            Blake                                    privileged and confidential        confidential.eml                 in-house counsel regarding draft investor letter.
                                                                                                                                                                                                                Attached draft investor letter reflecting legal
                                                                                                                                                                               Letter 23 December 11am LM       advice from in-house counsel sent for the
366           AttorneyClient                                                                                                                                                   input.pages                      purpose of obtaining legal advice.

                                                                                                   Luca Maestr
                                                                                                   Nancy Paxton
                                                                                                   Saori Casey
                                                                                                   Adam Talbot
                                                                                                                          Kyle
                                                                                                   Andeer                         Sam
                                                                                                   Whittington                                                                 20181223-1343 Re Investor letter
                                              Kate Adams                                                                                    Re Investor letter DRAFT --        DRAFT -- priv leged and          Email providing legal advice from in-house
367           AttorneyClient     2018-12-23                     Steve Dowling                      Matt Blake                               privileged and confidential        confidential.eml                 counsel regarding draft investor letter.

                                                                                                   Luca Maestr
                                                                                                   Nancy Paxton
                                                                                                   Saori Casey
                                                                                                   Adam Talbot
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                                                                                                   Andeer                         Sam
                                                                                                   Whittington                                                                 20181223-1517 Re Investor letter
                                                                Kate Adams                                                                  Re Investor letter DRAFT --        DRAFT -- priv leged and          Email requesting and reflecting legal advice from
368           AttorneyClient     2018-12-23 Steve Dowling                                          Matt Blake                               privileged and confidential        confidential.eml                 in-house counsel regarding draft investor letter.

                                                                                                   Nancy Paxton
                                                                                                   Sam Whittington

                                                                                                   Adam Talbot
                                                                                                                          Saori             Re Investor letter DRAFT 1 for     20181223-1144 Re Investor letter Email requesting and reflecting legal advice from
369           AttorneyClient     2018-12-23 Matt Blake          Steve Dowling                      Casey                                    review                             DRAFT 1 for review.eml           in-house counsel regarding draft investor letter.
                                                                                                   Adam Talbot
                                                                Nancy Paxton                   ;                          Matt
                                                                Sam Whittington                    Blake                   ; Saori          Re Investor letter DRAFT 1 for     20181223-1110 Re Investor letter Email requesting and reflecting legal advice from
370           AttorneyClient     2018-12-23 Steve Dowling                                          Casey                                    review                             DRAFT 1 for review.eml           in-house counsel regarding draft investor letter.
                                                                Adam Talbot
                                                                                    ;Sam           Matt Blake
                                                                Whittington                        Saori Casey                              Re Investor letter DRAFT 1 for     20181223-1106 Re Investor letter Email requesting and reflecting legal advice from
371           AttorneyClient     2018-12-23 Nancy Paxton                                           Steve Dowling                            review                             DRAFT 1 for review.eml           in-house counsel regarding draft investor letter.
                                                                Adam Talbot
                                                                                    ;Sam           Matt Blake
                                                                Whittington                        Saori Casey                              Re Investor letter DRAFT 1 for     Re Investor letter DRAFT 1 for    Email requesting and reflecting legal advice from
372           AttorneyClient     2018-12-23 Nancy Paxton                                           Steve Dowling                            review                             review.eml                        in-house counsel regarding draft investor letter.




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                                                                Nancy Paxton                    ;
                                                                Matt Blake                  ;
                                                                Saori Casey
                                                                Steve Dowling                   ;
                                              Adam Talbot       Sam Whittington                                                              Re Investor letter DRAFT 1 for   20181223-0914 Re Investor letter Email requesting and reflecting legal advice from
373           AttorneyClient     2018-12-23                                                                                                  review                           DRAFT 1 for review.eml           in-house counsel regarding draft investor letter.
                                                                                                  Saori Casey
                                                                Steve Dowling                   ; Matt Blake
                                                                Sam Whittington                   Adam Talbot                                Re Investor letter DRAFT 1 for   20181223-0634 Re Investor letter Email requesting and reflecting legal advice from
374           AttorneyClient     2018-12-23 Nancy Paxton                                                                                     review                           DRAFT 1 for review.eml           in-house counsel regarding draft investor letter.


                                                                Luca Maestri
                                                                Steve Dowling                   ; Jeff Williams                     ;
                                                                Nancy Paxton                    ; Sam Whittington
                                                                Matt Blake                  ;                                                                                 20181224-0846 Re Privileged and
                                              Adam Talbot       Kate Adams                          Kyle Andeer                              Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
375           AttorneyClient     2018-12-24                                                         Saori Casey                              DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.
                                                                                                                                                                              Letter v4 24 December           Attached draft investor letter reflecting legal
376           AttorneyClient                                                                                                                                                  845am.pages                     advice from in-house counsel.


                                                                                                    Jeff Williams                   ;
                                                                                                    Kate Adams
                                                                                                                           Nancy
                                                                                                    Paxton                  Sam
                                                                                                    Whittington

                                                                                                    Kyle Andeer
                                                                                                    Matt Blake
                                                                                                    Saori Casey                                                               20181224-0714 Re Privileged and
                                                                                                    Adam Talbot                              Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
377           AttorneyClient     2018-12-24 Luca Maestr         Steve Dowling                                                                DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.

                                                                                                    Sam Whittington

                                                                Jeff Williams               ; Kyle Andeer
                                                                Luca Maestri                ; Matt Blake
                                                                Kate Adams                    Saori Casey                                                                      20181223-2212 Privileged and
                                                                                      Nancy   Adam Talbot                                    Privileged and Confidential DRAFT Confidential DRAFT investor     Email requesting and reflecting legal advice from
378           AttorneyClient     2018-12-24 Steve Dowling       Paxton                                                                       investor letter                   letter.eml                      in-house counsel regarding draft investor letter.
                                                                                                                                                                                                               Attached draft investor letter reflecting legal
379           AttorneyClient                                                                                                                                                  Letter v4 23 December 10pm.pages advice from in-house counsel.


                                                                                                    Saori Casey
                                                                                                    Adam Talbot
                                                                                                                           Jeff
                                                                                                    Williams                      Kate
                                                                                                    Adams
                                                                                                    Luca Maestr
                                                                                                    Nancy Paxton                                                              20181224-1300 Re Privileged and
                                              Sam Whittington                                       Matt Blake                               Re Privileged and Confidential   Confidential DRAFT investor     Email providing legal advice from in-house
380           AttorneyClient     2018-12-24                     Steve Dowling                       Kyle Andeer                              DRAFT investor letter            letter.eml                      counsel regarding draft investor letter.



                                                                                                    Adam Talbot
                                                                                                                           Jeff
                                                                                                    Williams                      Kate
                                                                                                    Adams
                                                                                                    Luca Maestr
                                                                                                    Steve Dowling
                                                                                                    Nancy Paxton                                                              20181224-1205 Re Privileged and
                                              Sam Whittington                                       Matt Blake                               Re Privileged and Confidential   Confidential DRAFT investor     Email providing legal advice from in-house
381           AttorneyClient     2018-12-24                     Saori Casey                         Kyle Andeer                              DRAFT investor letter            letter.eml                      counsel regarding draft investor letter.



                                                                                                    Jeff Williams                   ;
                                                                                                    Kate Adams
                                                                                                                           Luca
                                                                                                    Maestri                    Steve
                                                                                                    Dowling                   ; Nanc
                                                                                                    Paxton                     Matt
                                                                                                    Blake                    ;Sam
                                                                                                    Whittington                                                               20181224-1157 Re Privileged and
                                                                Adam Talbot                                                                  Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
382           AttorneyClient     2018-12-24 Saori Casey                                             Kyle Andeer                              DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.


                                                                                               Steve Dowling
                                                                Jeff Williams                ; Nancy Paxton
                                                                Kate Adams                     Matt Blake
                                                                                      Luca     Sam Whittington                                                                20181224-1038 Re Privileged and
                                              Adam Talbot       Maestr                 ; Saori                                               Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
383           AttorneyClient     2018-12-24                     Casey                          Kyle Andeer                                   DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.
                                                                                                                                                                              Letter v4 24 December           Attached draft investor letter reflecting legal
384           AttorneyClient                                                                                                                                                  1030am.pages                    advice from in-house counsel.




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                                              Exhibit 1: Withheld Documents Related to January 2, 2019 Earnings Pre-announcement




      A   B              C            D                     E                   F                                  G                    H                   I                                J                                        K


                                                                                                   Adam Talbot
                                                                                                                         Luca
                                                                                                   Maestri                   Steve
                                                                                                   Dowling                  ; Nanc
                                                                                                   Paxton                    Matt
                                                                                                   Blake                   ;Sam
                                                                Saori Casey                ;       Whittington
                                                                Kate Adams                                                                  Re Privileged and Confidential   Re Privileged and Confidential    Email requesting legal advice from in-house
385           AttorneyClient     2018-12-24 Jeff Williams                                          Kyle Andeer                              DRAFT investor letter            DRAFT investor letter.eml         counsel regarding draft investor letter.



                                                                                                   Luca Maestr
                                                                                                   Steve Dowling
                                                                                                   Nancy Paxton
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                                                                                                   Kate Adams
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                                                                                                   Williams                  ; Sam
                                                                                                   Whittington                                                               20181224-1013 Re Privileged and
                                                                Adam Talbot                                                                 Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
386           AttorneyClient     2018-12-24 Saori Casey                                            Kyle Andeer                              DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.


                                                                                                   Steve Dowling
                                                                                                   Nancy Paxton
                                                                                                   Matt Blake
                                                                                                   Kate Adams
                                                                                                                         Jeff
                                                                                                   Williams                  ; Sam
                                                                                                   Whittington
                                                                                                                                                                             20181224-0958 Re Privileged and
                                                                Adam Talbot                        Kyle Andeer                              Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
387           AttorneyClient     2018-12-24 Luca Maestr                                            Saori Casey                              DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.



                                                                                                   Adam Talbot
                                                                                                                         Kate
                                                                                                   Adams
                                                                                                   Steve Dowling
                                                                                                   Matt Blake
                                                                                                   Jeff Williams                    ;
                                                                                                   Sam Whittington
                                                                                                                                ;                                            20181224-1001 Re Privileged and
                                                                                                   Kyle Andeer                              Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
388           AttorneyClient     2018-12-24 Luca Maestr         Nancy Paxton                       Saori Casey                              DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.

                                                                Adam Talbot
                                                                                    Luca
                                                                Maestr                  Steve
                                                                Dowling                ; Nancy
                                                                Paxton                ; Matt
                                                                Blake                    Jeff Kyle Andeer                                                                    20181224-1037 Re Privileged and
                                              Sam Whittington   Williams                  Saor Kate Adams                                   Re Privileged and Confidential   Confidential DRAFT investor     Email providing legal advice from in-house
389           AttorneyClient     2018-12-24                     Casey                                                                       DRAFT investor letter            letter.eml                      counsel regarding draft investor letter.

                                                                Sam Whittington
                                              Adam Talbot                                                                                   Re Privileged and Confidential   Re Privileged and Confidential    Email requesting and reflecting legal advice from
390           AttorneyClient     2018-12-26                     Steve Dowling                                                               DRAFT investor letter            DRAFT investor letter.eml         in-house counsel regarding draft investor letter.
                                                                                                                                                                             Letter v5 26 December             Attached draft investor letter reflecting legal
391           AttorneyClient                                                                                                                                                 530am.pages                       advice from in-house counsel.
                                              Sam Whittington   Adam Talbot                                                                 Re Privileged and Confidential   Re Privileged and Confidential    Email providing legal advice from in-house
392           AttorneyClient     2018-12-26                                                        Steve Dowling                            DRAFT investor letter            DRAFT investor letter.eml         counsel regarding draft investor letter.

                                                                Steve Dowling                  ;
                                              Adam Talbot       Sam Whittington                                                             Re Privileged and Confidential   Re Privileged and Confidential    Email requesting and reflecting legal advice from
393           AttorneyClient     2018-12-26                                                                                                 DRAFT investor letter            DRAFT investor letter.eml         in-house counsel regarding draft investor letter.
                                                                Sam Whittington

                                                                Adam Talbot                                                                 Re Privileged and Confidential   Re Privileged and Confidential    Email requesting and reflecting legal advice from
394           AttorneyClient     2018-12-26 Steve Dowling                                                                                   DRAFT investor letter            DRAFT investor letter.eml         in-house counsel regarding draft investor letter.



                                                                                                   Luca Maestr
                                                                                                   Steve Dowling
                                                                                                   Matt Blake
                                                                                                   Jeff Williams                    ;
                                                                                                   Sam Whittington
                                                                Adam Talbot                                                     ;                                            20181224-1000 Re Privileged and
                                                                                    Kate           Kyle Andeer                              Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
395           AttorneyClient     2018-12-24 Nancy Paxton        Adams                              Saori Casey                              DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.




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                                              Exhibit 1: Withheld Documents Related to January 2, 2019 Earnings Pre-announcement




      A   B              C            D                     E                   F                      G                     H                   I                                 J                                        K


                                                                                     Saori Casey
                                                                                     Adam Talbot
                                                                                                               Jeff
                                                                                     Williams                         Kate
                                                                                     Adams
                                                                                     Luca Maestr
                                                                                     Nancy Paxton                                                                 20181224-1244 Re Privileged and
                                                                Sam Whittington      Matt Blake                                  Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
396           AttorneyClient     2018-12-24 Steve Dowling                            Kyle Andeer                                 DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.


                                                                                     Jeff Williams                       ;
                                                                                     Luca Maestr
                                                                                     Sam Whittington

                                                                                      Kyle Andeer
                                                                                      Matt Blake
                                                                Steve Dowling       ; Saori Casey                                                                 20181224-0623 Re Privileged and
                                                                Kate Adams            Adam Talbot                                Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
397           AttorneyClient     2018-12-24 Nancy Paxton                                                                         DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.

                                                                                     Jeff Williams                       ;
                                                                                     Luca Maestr
                                                                                     Kate Adams
                                                                                                               Nancy
                                                                                     Paxton                     Sam
                                                                                     Whittington

                                                                                     Kyle Andeer
                                                                                     Saori Casey                                                                  20181224-0713 Re Privileged and
                                                                                     Adam Talbot                                 Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
398           AttorneyClient     2018-12-24 Matt Blake          Steve Dowling                                                    DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.
                                                                                                                                                                                                  Attached document created by employee
                                                                                                                                                                                                  working under the direction of in-house counsel
                                                                                                                                                                                                  regarding draft investor letter for the purpose of
399           AttorneyClient     2018-12-24                                                                                                                       Price Compares.pdf              obtaining legal advice.

                                                                                     Sam Whittington

                                                                                     Steve Dowling
                                                                                     Saori Casey
                                                                                     Jeff Williams
                                                                                     Nancy Paxton
                                                                                     Matt Blake
                                                                                     Kate Adams                                                                   20181226-1110 Re Privileged and
                                                                Adam Talbot                                     Kyle             Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
400           AttorneyClient     2018-12-26 Luca Maestr                              Andeer                                      DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.


                                                                Saori Casey          Adam Talbot
                                                                Jeff Williams                                  Steve
                                                                Luca Maestri          Dowling                     Kate                                            20181226-0903 Re Privileged and
                                              Sam Whittington   Nancy Paxton        ; Adams                                      Re Privileged and Confidential   Confidential DRAFT investor     Email providing legal advice from in-house
401           AttorneyClient     2018-12-26                     Matt Blake            Kyle Andeer                                DRAFT investor letter            letter.eml                      counsel regarding draft investor letter.
                                                                                                                                                                                                  Draft investor letter reflecting legal advice from
                                                                                                                                                                  Letter v5 26 December           in-house counsel attached to email providing
402           AttorneyClient                                                                                                                                      530am.pages                     legal advice from in-house counsel.


                                                                                     Luca Maestr
                                                                                     Nancy Paxton
                                                                Sam Whittington      Matt Blake
                                                                                     Adam Talbot
                                                                Saori Casey                                    Steve
                                                                Kate Adams           Dowling                      Kyle           Re Privileged and Confidential   Re Privileged and Confidential     Email requesting and reflecting legal advice from
403           AttorneyClient     2018-12-26 Jeff Williams                            Andeer                                      DRAFT investor letter            DRAFT investor letter.eml          in-house counsel regarding draft investor letter.


                                                                                     Adam Talbot
                                                                                                               Jeff
                                                                                     Williams j
                                                                                     Steve Dowling
                                                                                     Nancy Paxton
                                                                                     Sam Whittington

                                                                                     Saori Casey                                                                  20181226-1301 Re Privileged and
                                                                Kate Adams           Matt Blake                                  Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
404           AttorneyClient     2018-12-26 Luca Maestr                              Kyle Andeer                                 DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.


                                                                                     Kate Adams
                                                                                                              ; Sam
                                                                                     Whittington
                                                                                                                  ; Saori
                                                                                     Casey                       Jeff
                                                                                     Williams                       ; Matt
                                                                                     Blake                          Adam
                                                                                     Talbot                                                                       20181226-1111 Re Privileged and
                                                                                     Steve Dowling                               Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
405           AttorneyClient     2018-12-26 Luca Maestr         Nancy Paxton         Kyle Andeer                                 DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.




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                                                                                         Sam Whittington

                                                                                         Saori Casey
                                                                                         Jeff Williams                      ;
                                                                                         Matt Blake
                                                                                         Adam Talbot
                                                                Luca Maestri        ;                             Steve                                              20181226-1058 Re Privileged and
                                                                Kate Adams               Dowling                     Kyle           Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
406           AttorneyClient     2018-12-26 Nancy Paxton                                 Andeer                                     DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.


                                                                                         Saori Casey
                                                                                         Jeff Williams
                                                                                         Nancy Paxton
                                                                                         Matt Blake
                                                                                         Adam Talbot
                                                                                                                  Steve
                                                                                         Dowling                     Kate                                            20181226-1053 Re Privileged and
                                                                Sam Whittington          Adams                                      Re Privileged and Confidential   Confidential DRAFT investor letter - Email requesting and reflecting legal advice from
407           AttorneyClient     2018-12-26 Luca Maestr                                  Kyle Andeer                                DRAFT investor letter            1.eml                                in-house counsel regarding draft investor letter.

                                                                                         Saori Casey
                                                                                         Jeff Williams
                                                                                         Nancy Paxton
                                                                Sam Whittington          Matt Blake
                                                                                         Kate Adams                                                                  20181226-1053 Re Privileged and
                                              Adam Talbot       Luca Maestri                                      ; Kyle            Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
408           AttorneyClient     2018-12-26                     Steve Dowling            Andeer                                     DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.




                                                                                         Luca Maestr
                                                                                         Jeff Williams
                                                                                         Steve Dowling
                                                                                         Nancy Paxton
                                                                                         Sam Wh ttington
                                                                                                                     ; Saori
                                                                                         Casey                      Matt                                             20181226-1202 Re Privileged and
                                              Kate Adams        Adam Talbot              Blake                      ; Kyle          Re Privileged and Confidential   Confidential DRAFT investor     Email providing legal advice from in-house
409           AttorneyClient     2018-12-26                                              Andeer                                     DRAFT investor letter            letter.eml                      counsel regarding draft investor letter.


                                                                                         Nancy Paxton
                                                                Luca Maestri        ;    Sam Whittington
                                                                Jeff Williams
                                                                Steve Dowling           ; Saori Casey                                                                20181226-1138 Re Privileged and
                                              Adam Talbot       Kate Adams                Matt Blake                                Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
410           AttorneyClient     2018-12-26                                               Kyle Andeer                               DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.
                                                                                                                                                                     Letter v6 26 December           Attached draft investor letter reflecting legal
411           AttorneyClient                                                                                                                                         1130am.pages                    advice from in-house counsel.


                                                                                         Saori Casey
                                                                                         Steve Dowling
                                                                                         Nancy Paxton
                                                                                         Matt Blake
                                                                                         Jeff Williams                      ;
                                                                                         Adam Talbot
                                                                                                                  Kate                                               20181230-1211 Re Privileged and
                                                                Sam Whittington          Adams                                      Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
412           AttorneyClient     2018-12-30 Luca Maestr                                  Kyle Andeer                                DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.


                                                                                         Saori Casey
                                                                                         Steve Dowling
                                                                                         Nancy Paxton
                                                                                         Matt Blake
                                                                                         Jeff Williams                      ;
                                                                                         Adam Talbot
                                                                                                                  Kate                                               20181230-1207 Re Privileged and
                                              Sam Whittington                            Adams                                      Re Privileged and Confidential   Confidential DRAFT investor     Email providing legal advice from in-house
413           AttorneyClient     2018-12-30                     Luca Maestri             Kyle Andeer                                DRAFT investor letter            letter.eml                      counsel regarding draft investor letter.


                                                                                         Saori Casey
                                                                                         Steve Dowling
                                                                                         Nancy Paxton
                                                                                         Matt Blake
                                                                                         Jeff Williams                      ;
                                                                                         Adam Talbot
                                                                                                                  Kate                                               20181230-1035 Re Privileged and
                                                                Sam Whittington          Adams                             ;        Re Privileged and Confidential   Confidential DRAFT investor     Email requesting and reflecting legal advice from
414           AttorneyClient     2018-12-30 Luca Maestr                                  Kyle Andeer                                DRAFT investor letter            letter.eml                      in-house counsel regarding draft investor letter.




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                                                                                                Saori Casey
                                                                                                Steve Dowling
                                                                                                Nancy Paxton
                                                                                                Matt Blake
                                                                                                Jeff Williams                   ;
                                                                                                Adam Talbot
                                                                                                                        Kate                                               20181230-1034 Re Privileged and
                                                                Sam Whittington                 Adams                                   Re Privileged and Confidential     Confidential DRAFT investor     Email requesting and reflecting legal advice from
415           AttorneyClient     2018-12-30 Luca Maestr                                         Kyle Andeer                             DRAFT investor letter              letter.eml                      in-house counsel regarding draft investor letter.


                                                                                                Steve Dowling
                                                                                                Nancy Paxton
                                                                                                Matt Blake
                                                                                                Luca Maestr
                                                                                                Jeff Williams
                                                                                                Adam Talbot
                                                                                                                        Kate                                               20181230-1011 Re Privileged and
                                              Sam Whittington                                   Adams                           ;       Re Privileged and Confidential     Confidential DRAFT investor     Email providing legal advice from in-house
416           AttorneyClient     2018-12-30                     Saori Casey                     Kyle Andeer                             DRAFT investor letter              letter.eml                      counsel regarding draft investor letter.


                                                                                                Steve Dowling
                                                                                                Nancy Paxton
                                                                                                Matt Blake
                                                                                                Luca Maestr
                                                                                                Jeff Williams
                                                                                                Adam Talbot
                                                                                                                        Kate                                               20181230-0949 Re Privileged and
                                                                Sam Whittington                 Adams                           ;       Re Privileged and Confidential     Confidential DRAFT investor     Email requesting and reflecting legal advice from
417           AttorneyClient     2018-12-30 Saori Casey                                         Kyle Andeer                             DRAFT investor letter              letter.eml                      in-house counsel regarding draft investor letter.

                                                                Steve Dowling
                                                                Saori Casey
                                                                Nancy Paxton                ;
                                                                Matt Blake              ;
                                                                Luca Maestri
                                                                Jeff Williams            ; Kate Adams                                                                      20181230-0855 Fwd Privileged and
                                              Sam Whittington   Adam Talbot                                              Kyle           Fwd Privileged and Confidential    Confidential DRAFT investor     Email providing legal advice from in-house
418           AttorneyClient     2018-12-30                                                     Andeer                                  DRAFT investor letter              letter.eml                      counsel regarding draft investor letter.
                                                                                                                                                                                                           Draft investor letter reflecting legal advice from
                                                                                                                                                                                                           in-house counsel attached to email providing
                                                                                                                                                                                                           legal advice from in-house counsel regarding
419           AttorneyClient                                                                                                                                               Letter 26 December 200pm.pages draft investor letter.


                                                                                           Nancy Paxton
                                                                Tim Cook            ; Luca Sam Whittington
                                                                Maestr               Kate
                                                                Adams                      Saori Casey                                                                    20181226-1352 Privileged and
                                              Adam Talbot       Jeff Williams              Matt Blake                                   Privileged and Confidential DRAFT Confidential DRAFT investor     Email requesting and reflecting legal advice from
420           AttorneyClient     2018-12-26                     Steve Dowling              Kyle Andeer                                  investor letter                   letter.eml                      in-house counsel regarding draft investor letter.
                                                                                                                                                                                                          Attached draft investor letter reflecting legal
421           AttorneyClient                                                                                                                                               Letter 26 December 200pm.pages advice from in-house counsel.

                                                                Sam Whittington                                                         Re Investor Letter - supporting    20181229-1351 Re Investor Letter Email requesting legal advice from in-house
449           AttorneyClient     2018-12-29 Saori Casey                                                                                 information                        supporting information.eml       counsel regarding investor letter.

                                              Sam Whittington                                                                           Re Investor Letter - supporting    20181229-1313 Re Investor Letter Email providing legal advice from in-house
450           AttorneyClient     2018-12-29                     Saori Casey                                                             information                        supporting information.eml       counsel regarding investor letter.

                                                                Sam Whittington                                                         Fwd Investor Letter - supporting   20181229-1245 Fwd Investor          Email requesting legal advice from in-house
451           AttorneyClient     2018-12-29 Saori Casey                                                                                 information                        Letter - supporting information.eml counsel regarding investor letter.
                                                                                                                                                                                                               Email prepared by employee acting under the
                                                                                                                                                                                                               direction of in-house counsel and reflecting legal
                                                                                                Donal Conroy                            Re Investor Letter - supporting    20181230-0617 Re Investor Letter advice from in-house counsel regarding investo
452           AttorneyClient     2018-12-30 Kevan Parekh        Saori Casey                                                             information                        supporting information.eml          letter.
                                                                                                                                                                                                               Attached document prepared by employee
                                                                                                                                                                           iPhone Activation Trends and        acting under the direction of in-house counsel
                                                                                                                                                                           Research Insights - Dec 2018        sent for the purpose of obtaining legal advice
453           AttorneyClient                                                                                                                                               Extract 5.key                       regarding investor letter.
                                                                                                                                                                                                               Attached document prepared by employee
                                                                                                                                                                           iPhone Activation Trends and        acting under the direction of in-house counsel
                                                                                                                                                                           Research Insights - Dec 2018        sent for the purpose of obtaining legal advice
454           AttorneyClient                                                                                                                                               Extract 3.key                       regarding investor letter.

                                                                                                Saori Casey
                                                                Sam Whittington                 Kyle Andeer                             Re Investor Letter - supporting    20181230-1032 Re Investor Letter Email requesting legal advice from in-house
455           AttorneyClient     2018-12-30 Matt Blake                                          Nancy Paxton                            information                        supporting information.eml       counsel regarding investor letter.
                                                                                                                                                                                                            Attached document prepared by employee
                                                                                                                                                                                                            acting under the direction of in-house counsel
                                                                                                                                                                                                            sent for the purpose of obtaining legal advice
456           AttorneyClient     2018-11-12                                                                                                                                Oct China SMP.pdf                regarding investor letter.
                                                                                                                                                                                                            Attached document prepared by employee
                                                                                                                                                                                                            acting under the direction of in-house counsel
                                                                                                                                                                                                            sent for the purpose of obtaining legal advice
457           AttorneyClient     2018-12-10                                                                                                                                Nov China SMP.pdf                regarding investor letter.
                                                                                                                                                                                                            Attached document prepared by employee
                                                                                                                                                                                                            acting under the direction of in-house counsel
                                                                                                                                                                                                            sent for the purpose of obtaining legal advice
458           AttorneyClient     2018-10-15                                                                                                                                Sept China SMP.pdf               regarding investor letter.




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                                                                                                Saori Casey
                                                                 Sam Whittington                Kyle Andeer               Re Investor Letter - supporting    20181229-1252 Re Investor Letter Email requesting legal advice from in-house
459           AttorneyClient     2018-12-29 Matt Blake                                          Nancy Paxton              information                        supporting information.eml       counsel regarding investor letter.
                                                                 Saori Casey            ;
                                                                 Sam Whittington                Matt Blake                Re Investor Letter - supporting    20181229-1224 Re Investor Letter Email reflecting and requesting legal advice from
460           AttorneyClient     2018-12-29 Nancy Paxton                                        Kyle Andeer               information                        supporting information.eml       in-house counsel regarding investor letter.

                                                                                                Nancy Paxton
                                                                 Sam Whittington                Matt Blake                Re Investor Letter - supporting    20181229-1218 Re Investor Letter Email reflecting and requesting legal advice from
461           AttorneyClient     2018-12-29 Saori Casey                                         Kyle Andeer               information                        supporting information.eml       in-house counsel regarding investor letter.

                                                                 Nancy Paxton               ;
                                              Sam Whittington    Matt Blake                                               Investor Letter - supporting       20181229-0956 Investor Letter -    Email providing legal advice from in-house
462           AttorneyClient     2018-12-29                      Saori Casey                    Kyle Andeer               information                        supporting information.eml         counsel regarding investor letter.

                                                                                                                                                             BACKUP VERSION Letter 26           Attached document reflecting legal advice from
463           AttorneyClient                                                                                                                                 December 200pm.pages               in-house counsel regarding investor letter.

                                                                                                Matt Blake
                                                                 Sam Whittington                Saori Casey               Re Investor Letter - supporting    20181230-0935 Re Investor Letter Email requesting legal advice from in-house
464           AttorneyClient     2018-12-30 Nancy Paxton                                        Kyle Andeer               information                        supporting information.eml          counsel regarding investor letter.
                                                                                                                                                                                                 Attached document prepared by employee
                                                                                                                                                                                                 acting under the direction of in-house counsel
                                                                                                                                                             2a. Historical Record               sent for the purpose of obtaining legal advice
465           AttorneyClient     2013-10-07                                                                                                                  Tracking 10.9.18 v1041am.xlsx       regarding investor letter.
                                                                                                                                                                                                 Attached document prepared by employee
                                                                                                                                                                                                 acting under the direction of in-house counsel
                                                                                                                                                                                                 sent for the purpose of obtaining legal advice
466           AttorneyClient                                                                                                                                                                     regarding investor letter.
                                                                                                                                                                                                 Attached document prepared by employee
                                                                                                                                                                                                 acting under the direction of in-house counsel
                                                                                                                                                                                                 sent for the purpose of obtaining legal advice
467           AttorneyClient                                                                                                                                                                     regarding investor letter.
                                                                                                                                                                                                 Attached document prepared by employee
                                                                                                                                                                                                 acting under the direction of in-house counsel
                                                                                                                                                                                                 sent for the purpose of obtaining legal advice
468           AttorneyClient                                                                                                                                 PastedGraphic-2.png                 regarding investor letter.
                                                                                                                                                                                                 Email reflecting legal advice from in-house
                                                                                                                                                                                                 counsel and requesting information from
                                              Donal Conroy                                                                Re Investor Letter - supporting    20181229-1550 Re Investor Letter employees acting under the direction of in-hous
469           AttorneyClient     2018-12-29                      Saori Casey                    Kevan Parekh              information                        supporting information.eml          counsel regarding investor letter.
                                                                                                                                                                                                 Email reflecting legal advice from in-house
                                                                                                                                                                                                 counsel regarding investor letter and providing
                                                                                    Kevan                                 Fwd Investor Letter - supporting   20181229-1241 Fwd Investor          information from employees acting under the
470           AttorneyClient     2018-12-29 Saori Casey          Parekh                                                   information                        Letter - supporting information.eml direction of in-house counsel.
                                                                                                                                                                                                 Attached document prepared by employee
                                                                                                                                                                                                 acting under the direction of in-house counsel
                                                                                                                                                             BACKUP VERSION Letter 26            for the purpose of obtaining legal advice
471           AttorneyClient                                                                                                                                 December 200pm.pages                regarding investor letter.
                                                                 Saori Casey
                                                                 Sam Whittington                Matt Blake                Re Investor Letter - supporting    20181230-0957 Re Investor Letter Email reflecting and requesting legal advice from
472           AttorneyClient     2018-12-30 Nancy Paxton                                        Kyle Andeer               information                        supporting information.eml       in-house counsel regarding investor letter.
                                                                                                                                                                                              Attached document prepared by employee
                                                                                                                                                             Kantar ComTech CQ3'18 results - acting under the direction of in-house counsel
                                                                                                                                                             top models, USA & China          for the purpose of obtaining legal advice
473           AttorneyClient     2015-07-15                                                                                                                  details.xlsx                     regarding investor letter.

                                                                                                                                                                                              Email requesting legal advice from in-house
                                                                                                Nancy Paxton                                                                                  counsel regarding investor letter and providing
                                                                 Sam Whittington                Matt Blake                Re Investor Letter - supporting    20181229-2144 Re Investor Letter information to in-house counsel from employees
474           AttorneyClient     2018-12-30 Saori Casey                                         Kyle Andeer               information                        supporting information.eml       acting under the direction of in-house counsel.
                                                                                                                                                                                              Attached document prepared by employee
                                                                                                                                                                                              acting under the direction of in-house counsel
                                                                                                                                                                                              sent for the purpose of obtaining legal advice
475           AttorneyClient                                                                                                                                                                  regarding investor letter.
                                                                                                                                                                                              Attached document prepared by employee
                                                                                                                                                                                              acting under the direction of in-house counsel
                                                                                                                                                                                              sent for the purpose of obtaining legal advice
476           AttorneyClient                                                                                                                                                                  regarding investor letter.
                                                                                                                                                                                              Attached document prepared by employee
                                                                                                                                                                                              acting under the direction of in-house counsel
                                                                                                                                                                                              sent for the purpose of obtaining legal advice
477           AttorneyClient     2018-12-30                                                                                                                  PastedGraphic-3.pdf              regarding investor letter.

                                              Sam Whittington                                                             Re Investor Letter - supporting    20181230-0740 Re Investor Letter Email reflecting legal advice from in-house
478           AttorneyClient     2018-12-30                      Saori Casey                                              information                        supporting information.eml       counsel regarding investor letter.
                                                                                                                                                                                              Email reflecting legal advice from in-house
                                                                                                                                                                                              counsel regarding investor letter and providing
                                                                                                                          Re Investor Letter - supporting    20181230-0936 Re Investor Letter information from employee acting under the
479           AttorneyClient     2018-12-30 Saori Casey          Kevan Parekh                                             information                        supporting information.eml       direction of in-house counsel.
                                                                                                                                                                                              Email reflecting legal advice from in-house
                                                                                                                                                                                              counsel regarding investor letter and providing
                                                                                                Donal Conroy              Re Investor Letter - supporting    Re Investor Letter - supporting  information from employee acting under the
480           AttorneyClient     2018-12-30 Kevan Parekh         Saori Casey                                              information                        information.eml                  direction of in-house counsel.
                                                                                                                                                                                              Attached document prepared by employee
                                                                                                                                                             iPhone Activation Trends and     acting under the direction of in-house counsel
                                                                                                                                                             Research Insights - Dec 2018     for the purpose of obtaining legal advice
481           AttorneyClient                                                                                                                                 Extract 3.key                    regarding investor letter.
                                                                                                                                                                                              Email reflecting legal advice from in-house
                                                                                                                                                                                              counsel regarding investor letter and providing
                                                                                                                          Re Investor Letter - supporting    Re Investor Letter - supporting  information from employee acting under the
482           AttorneyClient     2018-12-29 Kevan Parekh         Saori Casey                                              information                        information.eml                  direction of in-house counsel.




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                                                                                                                                                                                               Email reflecting legal advice from in-house
                                                                                                                                                                                               counsel regarding investor letter and providing
                                                                                                                           Re Investor Letter - supporting    20181229-1649 Re Investor Letter information from employee acting under the
483           AttorneyClient      2018-12-29 Saori Casey         Kevan Parekh                                              information                        supporting information.eml       direction of in-house counsel.
                                                                                                                                                                                               Email requesting legal advice from in-house
                                                                                                                                                                                               counsel regarding investor letter and providing
                                                                 Sam Whittington                                           Re Investor Letter - supporting    Re Investor Letter - supporting  information from employee acting under the
484           AttorneyClient      2018-12-30 Nancy Paxton                                                                  information                        information.eml                  direction of in-house counsel.
                                                                                                                                                                                               Email requesting legal advice from in-house
                                                                                    Matt Blake                                                                                                 counsel regarding investor letter and providing
                                                                 Sam Whittington    Saori Casey                            Re Investor Letter - supporting    Re Investor Letter - supporting  information from employee acting under the
485           AttorneyClient      2019-01-01 Nancy Paxton                           Kyle Andeer                            information                        information.eml                  direction of in-house counsel.
                                                                                                                                                                                               Attached document prepared by employee
                                                                                                                                                                                               acting under the direction of in-house counsel
                                                                                                                                                              2a. Historical Record            sent for the purpose of obtaining legal advice
486           AttorneyClient      2013-10-07                                                                                                                  Tracking 10.9.18 v1041am.xlsx    regarding investor letter.
                                                                                                                                                                                               Attached document prepared by employee
                                                                                                                                                                                               acting under the direction of in-house counsel
                                                                                                                                                                                               sent for the purpose of obtaining legal advice
487           AttorneyClient                                                                                                                                  PastedGraphic-2.png              regarding investor letter.
                                                                                                                                                                                               Attached document prepared by employee
                                                                                                                                                                                               acting under the direction of in-house counsel
                                                                                                                                                              Installed base commentary from   sent for the purpose of obtaining legal advice
488           AttorneyClient      2018-12-29                                                                                                                  Alex Roman.pdf                   regarding investor letter.
                                                                                                                                                                                               Attached document prepared by employee
                                                                                                                                                                                               acting under the direction of in-house counsel
                                                                                                                                                                                               sent for the purpose of obtaining legal advice
489           AttorneyClient                                                                                                                                  PastedGraphic-2.png              regarding investor letter.

                                               Sam Whittington                                                             Re Investor Letter - supporting    20181230-1011 Re Investor Letter Email reflecting legal advice from in-house
490           AttorneyClient      2018-12-30                     Saori Casey                                               information                        supporting information.eml          counsel regarding investor letter.
                                                                                                                                                                                                  Email reflecting legal advice from in-house
                                                                                                                                                                                                  counsel regarding investor letter and providing
                                                                 Sam Whittington    Nancy Paxton                           Fwd Investor Letter - supporting   20181230-0951 Fwd Investor          information from employee acting under the
491           AttorneyClient      2018-12-30 Saori Casey                            Matt Blake                             information                        Letter - supporting information.eml direction of in-house counsel.

                                                                                                                                                                                                  Attached document reflecting information
                                                                                                                                                              iPhone Activation Trends and        prepared by employees acting under the
                                                                                                                                                              Research Insights - Dec 2018        direction of in-house counsel for the purpose of
492           AttorneyClient                                                                                                                                  Extract 3.key                       seeking legal advice regarding investor letter.

                                                                                                                                                                                                  Attached document reflecting information
                                                                                                                                                              iPhone Activation Trends and        prepared by employees acting under the
                                                                                                                                                              Research Insights - Dec 2018        direction of in-house counsel for the purpose of
493           AttorneyClient                                                                                                                                  Extract 5.key                       seeking legal advice regarding investor letter.

                                                                                                                                                                                                  Attached document reflecting information
                                                                                                                                                                                                  prepared by employees acting under the
                                                                                                                                                                                                  direction of in-house counsel for the purpose of
494           AttorneyClient                                                                                                                                  PastedGraphic-1.png                 seeking legal advice regarding investor letter.

                                               Sam Whittington                      Nancy Paxton                           Re Investor Letter - supporting    20181230-1328 Re Investor Letter Email reflecting legal advice from in-house
497           AttorneyClient      2018-12-30                     Saori Casey        Matt Blake                             information                        supporting information.eml          counsel regarding investor letter.
                                                                                                                                                                                                  Email requesting legal advice from in-house
                                                                                                                                                                                                  counsel regarding investor letter and providing
                                                                 Sam Whittington                          Matt Blake       Fwd Investor Letter - supporting   20181230-1327 Fwd Investor          information from employee acting under the
498           AttorneyClient      2018-12-30 Saori Casey                                                                   information                        Letter - supporting information.eml direction of in-house counsel.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.17.51 sent for the purpose of obtaining legal advice
499           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.11.35 sent for the purpose of obtaining legal advice
500           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.14.40 sent for the purpose of obtaining legal advice
501           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.14.12 sent for the purpose of obtaining legal advice
502           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.19.41 sent for the purpose of obtaining legal advice
503           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.10.46 sent for the purpose of obtaining legal advice
504           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.16.20 sent for the purpose of obtaining legal advice
505           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.18.26 sent for the purpose of obtaining legal advice
506           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.
                                                                                                                                                                                                  Attached document prepared by employee
                                                                                                                                                                                                  acting under the direction of in-house counsel
                                                                                                                                                              Screen Shot 2018-12-29 at 8.12.24 sent for the purpose of obtaining legal advice
507           AttorneyClient                                                                                                                                  PM.png                              regarding investor letter.




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                                                                                                                                                                                                                   Attached document prepared by employee
                                                                                                                                                                                                                   acting under the direction of in-house counsel
                                                                                                                                                                                 Screen Shot 2018-12-29 at 8.17.02 sent for the purpose of obtaining legal advice
508           AttorneyClient                                                                                                                                                     PM.png                            regarding investor letter.
                                                                                                                                                                                                                   Attached document prepared by employee
                                                                                                                                                                                                                   acting under the direction of in-house counsel
                                                                                                                                                                                 Screen Shot 2018-12-29 at 8.12.39 sent for the purpose of obtaining legal advice
509           AttorneyClient                                                                                                                                                     PM.png                            regarding investor letter.
                                                                                                                                                                                                                   Attached document prepared by employee
                                                                                                                                                                                                                   acting under the direction of in-house counsel
                                                                                                                                                                                 Screen Shot 2018-12-29 at 8.20.26 sent for the purpose of obtaining legal advice
510           AttorneyClient                                                                                                                                                     PM.png                            regarding investor letter.



                                                                 Steve Dowling                      ;
                                                                 Nancy Paxton                       ;
                                                                 Luca Maestri                   ;
                                                                 Kate Adams
                                                                                     Adam
                                                                 Talbo
                                                                 Saori Casey                ;
                                                                 Sam Whittington

                                                                 Kyle Andeer                                                                                                                                       Email requesting legal advice from in-house
512           AttorneyClient      2018-12-31 Tim Cook            Jeff Williams                                                              Tim Cook       Letter revision       20181231-1026 Letter revision.eml counsel regarding investor letter.
                                                                                                                                                                                                                   Draft investor letter reflecting legal advice from
                                                                                                                                                                                 Letter 26 December 200pm          in-house counsel sent for the purpose of
513           AttorneyClient                                                                                                                                                     copy.pages                        obtaining legal advice.

                                                                 Saori Casey
                                                                 Steve Dowling                      ;
                                                                 Sam Whittington

                                                                 Kate Adams                             Nancy Paxton
                                               Adam Talbot                           Luca               Kyle Andeer                                                              20181231-1822 Re Letter             Email requesting legal advice from in-house
514           AttorneyClient      2019-01-01                     Maestr                                 Jeff Williams                                      Re Letter revision    revision.eml                        counsel regarding investor letter.
                                                                                                                                                                                                                     Draft investor letter reflecting legal advice from
                                                                                                                                                                                                                     in-house counsel sent for the purpose of
515           AttorneyClient                                                                                                                                                     12 31 edits 615pm.pages             obtaining legal advice.



                                                                                                        Sam Whittington

                                                                                                        Steve Dowling
                                                                                                        Nancy Paxton
                                                                                                        Luca Maestr
                                                                                                        Kate Adams
                                                                                                                                  Kyle
                                                                 Adam Talbot                            Andeer                       Jeff                                        20181231-1751 Re Letter             Email requesting legal advice from in-house
516           AttorneyClient      2019-01-01 Saori Casey                                                Williams                                           Re Letter revision    revision.eml                        counsel regarding investor letter.

                                                                                                        Steve Dowling
                                                                                                        Nancy Paxton
                                                                                                        Matt Blake
                                                                                                        Adam Talbot
                                               Sam Whittington                                                                   Kyle                                            20181231-1208 Re Letter             Email providing legal advice from in-house
517           AttorneyClient      2018-12-31                     Saori Casey                            Andeer                                             Re Letter revision    revision.eml                        counsel regarding investor letter.

                                                                 Steve Dowling                      ;
                                                                 Saori Casey
                                                                 Nancy Paxton                       ;
                                                                 Matt Blake                     ;
                                               Sam Whittington   Adam Talbot                                                                                                     20181231-1126 Fwd Letter            Email providing legal advice from in-house
518           AttorneyClient      2018-12-31                                                            Kyle Andeer                                        Fwd Letter revision   revision.eml                        counsel regarding investor letter.
                                                                                                                                                                                                                     Draft investor letter reflecting legal advice from
                                                                                                                                                                                                                     in-house counsel attached to email providing
                                                                                                                                                                                 Letter 26 December 200pm            legal advice from in-house counsel regarding
519           AttorneyClient                                                                                                                                                     copy.pages                          investor letter.


                                                                                                        Sam Whittington

                                                                                                        Steve Dowling
                                                                                                        Nancy Paxton
                                                                                                        Kate Adams
                                                                                                                                 Saori
                                                                                                        Casey                     Kyle
                                                                 Adam Talbot                            Andeer                       Jeff                                        20181231-1750 Re Letter             Email requesting legal advice from in-house
520           AttorneyClient      2019-01-01 Luca Maestr                                                Williams                                           Re Letter revision    revision.eml                        counsel regarding investor letter.


                                                                                                        Nancy Paxton
                                                                                                        Luca Maestr
                                                                                                        Kate Adams
                                                                                                                                 Saori
                                                                 Sam Whittington                        Casey                     Kyle
                                               Adam Talbot                                              Andeer                       Jeff                                        20181231-1649 Re Letter             Email requesting legal advice from in-house
521           AttorneyClient      2019-01-01                     Steve Dowling                          Williams                                           Re Letter revision    revision.eml                        counsel regarding investor letter.
                                                                                                                                                                                                                     Draft investor letter reflecting legal advice from
                                                                                                                                                                                 12_31 edits to TC comments 445      in-house counsel sent for the purpose of
522           AttorneyClient                                                                                                                                                     pm draft.pages                      obtaining legal advice.




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                                                                                                 Nancy Paxton
                                                                                                 Luca Maestr
                                                                                                 Kate Adams
                                                                                                                         Saori
                                                                 Steve Dowling                  ; Casey                   Kyle
                                               Sam Whittington   Adam Talbot                      Andeer                     Jeff                                            20181231-1538 Re Letter          Email providing legal advice from in-house
523           AttorneyClient      2018-12-31                                                      Williams                              Re Letter revision                   revision.eml                     counsel regarding investor letter.
                                                                                                                                                                                                              Draft investor letter reflecting legal advice from
                                                                                                                                                                                                              in-house counsel attached to email providing
                                                                                                                                                                                                              legal advice from in-house counsel regarding
524           AttorneyClient                                                                                                                                                 12 31 edits to TC comments.pages investor letter.


                                                                                                 Nancy Paxton
                                                                                                 Luca Maestr
                                                                                                 Kate Adams
                                                                 Adam Talbot                                             Saori
                                                                                     ;Sam        Casey                    Kyle
                                                                 Whittington                     Andeer                      Jeff                                            20181231-1742 Re Letter              Email requesting legal advice from in-house
525           AttorneyClient      2019-01-01 Steve Dowling                                       Williams                               Re Letter revision                   revision.eml                         counsel regarding investor letter.
                                                                                                                                                                                                                  Draft investor letter reflecting legal advice from
                                                                                                                                                                                                                  in-house counsel sent for the purpose of
526           AttorneyClient                                                                                                                                                 12_31 edits 6pm.pages                obtaining legal advice.



                                                                                                 Saori Casey
                                                                                                 Steve Dowling
                                                                                                 Sam Whittington

                                                                                                 Luca Maestr
                                                                                                 Nancy Paxton
                                               Kate Adams        Adam Talbot                     Kyle Andeer                                                                 20190101-0611 Re Letter              Email providing legal advice from in-house
527           AttorneyClient      2019-01-01                                                     Jeff Williams                          Re Letter revision                   revision.eml                         counsel regarding investor letter.


                                                                 Luca Maestri               ;
                                                                 Sam Whittington
                                                                                                  Saori Casey
                                                                 Steve Dowling                  ; Nancy Paxton
                                               Adam Talbot       Kate Adams                       Kyle Andeer                           Re Letter revision - - Privileged and 20190101-0930 Re Letter revision - Email requesting legal advice from in-house
531           AttorneyClient      2019-01-01                                                      Jeff Williams                         Confidential                          - Privileged and Confidential.eml  counsel regarding investor letter.
                                                                                                                                                                                                                 Attached draft investor letter reflecting legal
                                                                                                                                                                                                                 advice from in-house counsel sent for the
532           AttorneyClient                                                                                                                                                  01_01 edits 930am.pages            purpose of obtaining legal advice.


                                                                                                 Saori Casey
                                                                                                 Steve Dowling
                                                                                                 Sam Whittington

                                                                                                 Kate Adams
                                                                                                                         Nancy
                                                                                                 Paxton                   Kyle
                                                                 Adam Talbot                     Andeer                     Jeff        Re Letter revision - - Privileged and 20190101-0803 Re Letter revision - Email reflecting and requesting legal advice from
533           AttorneyClient      2019-01-01 Luca Maestr                                         Williams                               Confidential                          - Privileged and Confidential.eml  in-house counsel regarding investor letter.


                                                                                                 Steve Dowling
                                                                                                 Adam Talbot
                                                                                                                         Sam
                                                                                                 Whittington

                                                                                                 Saori Casey
                                                                                                 Nancy Paxton
                                               Kate Adams                                        Kyle Andeer                            Re Letter revision - - Privileged and 20190101-1054 Re Letter revision - Email providing legal advice from in-house
534           AttorneyClient      2019-01-01                     Luca Maestri                    Jeff Williams                          Confidential                          - Privileged and Confidential.eml  counsel regarding investor letter.


                                                                                                 Adam Talbot
                                                                                                                         Sam
                                                                                                 Whittington

                                                                                                 Kate Adams
                                                                                                                         Saori
                                                                                                 Casey                    Nancy
                                                                                                 Paxton                    Kyle
                                                                                                 Andeer                      Jeff       Re Letter revision - - Privileged and 20190101-1040 Re Letter revision - Email reflecting and requesting legal advice from
535           AttorneyClient      2019-01-01 Luca Maestr         Steve Dowling                   Williams                               Confidential                          - Privileged and Confidential.eml  in-house counsel regarding investor letter.
                                             Sam Whittington     Adam Talbot                                                                                                                                     Email providing legal advice from in-house
536           AttorneyClient      2019-01-01                                                                                            Re Letter revision                    Re Letter revision.eml             counsel regarding investor letter.


                                                                                                 Tim Cook                  Kate
                                                                                                 Adams
                                                                                                 Jeff Williams j
                                                                                                 Steve Dowling
                                                                                                 Kyle Andeer
                                                                                                 Sam Whittington

                                                                 Adam Talbot                     Saori Casey                                                                                                      Email reflecting legal advice from in-house
537           AttorneyClient      2019-01-01 Nancy Paxton                                        Luca Maestr                            Re Draft #2                          20190101-1139 Re Draft #2.eml        counsel regarding investor letter.




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                                                                 Tim Cook                    Kate
                                                                 Adams
                                                                 Jeff Williams
                                                                 Steve Dowling                          ;
                                                                 Kyle Andeer
                                                                 Sam Whittington

                                                                 Saori Casey
                                               Adam Talbot       Luca Maestri                                                                                                                              Email requesting legal advice from in-house
538           AttorneyClient      2019-01-01                     Nancy Paxton                                                          Re Draft #2                       20190101-1124 Re Draft #2.eml     counsel regarding investor letter.
                                                                                                                                                                                                           Attached draft investor letter reflecting legal
                                                                                                                                                                                                           advice from in-house counsel sent for the
539           AttorneyClient                                                                                                                                             01 01 edits 1115am.pages          purpose of obtaining legal advice.



                                                                 Kate Adams
                                                                                          Kyle
                                                                 Andeer                       Sam
                                                                 Whittington
                                                                                               Jeff
                                                                 Williams                      Saor
                                                                 Casey                     Luca
                                                                 Maestr                    ; Nancy
                                                                 Paxton                    ; Steve
                                                                 Dowling                      Adam                                                                                                        Email requesting legal advice from in-house
540           AttorneyClient      2018-12-31 Tim Cook            Talbo                                                                 Draft #2                          20181231-1444 Draft #2.eml       counsel regarding investor letter.
                                                                                                                                                                                                          Attached draft investor letter reflecting legal
                                                                                                                                                                         Letter 26 December 200pm copy 2- advice from in-house counsel sent for the
541           AttorneyClient                                                                                                                                             1.pages                          purpose of obtaining legal advice.
                                                                                                                                                                                                          Email reflecting legal advice from in-house
                                                                 Jessie Zhang                                                                                                                             counsel regarding investor letter and requesting
                                                                                          ; Jason                                                                                                         information of employees acting under the
542           AttorneyClient      2018-12-31 Saori Casey         Malat                                                                 Fwd Draft #2                      20181231-1450 Fwd Draft #2.eml direction of in-house counsel.
                                                                                                                                                                         Letter 26 December 200pm copy 2- Attached draft investor letter reflecting legal
543           AttorneyClient                                                                                                                                             1.pages                          advice from in-house counsel.

                                                                 Sam Whittington
                                                                                                                                                                                                        Email requesting legal advice from in-house
544           AttorneyClient      2019-01-01 Saori Casey         Kyle Andeer                                                           Q1 FX impact                      20181231-1754 Q1 FX impact.eml counsel regarding investor letter.

                                                                 Luca Maestri                       ;
                                                                 Kate Adams

                                                                                       Sam
                                                                 Whittington

                                                                                          Nancy
                                                                 Paxton                     Jeff
                                                                 Williams
                                                                                    ; Steve Dowling                                                                      20190101-1313 Comments to         Email requesting legal advice from in-house
549           AttorneyClient      2019-01-01 Tim Cook                                                                                  Comments to discuss on call       discuss on call.eml               counsel regarding investor letter.
                                                                                                                                                                                                           Attached draft investor letter reflecting legal
                                                                                                                                                                                                           advice from in-house counsel sent for the
550           AttorneyClient      2019-01-01                                                                                                                             01 01 edits 1115ampages.pdf       purpose of obtaining legal advice.
                                                                 Donal Conroy
                                                                                           Kevan                                                                       20190101-1403 Fwd Comments to Email reflecting legal advice from in-house
551           AttorneyClient      2019-01-01 Saori Casey         Parekh                                                                Fwd Comments to discuss on call discuss on call.eml           counsel regarding draft investor letter.
                                                                                                                                                                                                     Attached draft investor letter reflecting legal
                                                                                                                                                                                                     advice from in-house counsel sent for the
552           AttorneyClient      2019-01-01                                                                                                                           01_01 edits 1115ampages.pdf   purpose of obtaining legal advice.

                                                                 Kevan Parekh                                                                                            20181231-2118 Fwd Letter          Email reflecting legal advice from in-house
571           AttorneyClient      2019-01-01 Saori Casey                                                                               Fwd Letter revision               revision.eml                      counsel regarding investor letter.
                                                                                                                                                                                                           Attached draft investor letter reflecting legal
572           AttorneyClient                                                                                                                                             12 31 edits 615pm.pages           advice from in-house counsel.

                                                                 Saori Casey
                                               Sam Whittington   Nancy Paxton                                                                                            20190101-0926 Fwd Letter          Email providing legal advice from in-house
573           AttorneyClient      2019-01-01                     Matt Blake                                                            Fwd Letter revision               revision.eml                      counsel regarding investor letter.
                                                                                                                                                                                                           Draft investor letter reflecting legal advice from
                                                                                                                                                                                                           in-house counsel attached to email providing
                                                                                                                                                                                                           legal advice from in-house counsel regarding
574           AttorneyClient                                                                                                                                             12 31 edits 615pm.pages           investor letter.

                                                                 Matt Blake                         ;
                                                                 Sam Whittington                                                                                                                           Email reflecting legal advice from in-house
575           AttorneyClient      2019-01-01 Nancy Paxton                                                                              Fwd Letter revision               Fwd Letter revision.eml           counsel regarding investor letter.
                                                                                                                                                                                                           Attached draft investor letter reflecting legal
576           AttorneyClient                                                                                                                                             12 31 edits 615pm.pages           advice from in-house counsel.

                                                                 Nancy Paxton                           ; Steve Dowling
                                               Adam Talbot       Sam Whittington                          Matt Blake                                                                                       Email reflecting legal advice of in-house counsel
577           AttorneyClient      2019-01-01                                                              Saori Casey                  Re Net cash                       20190101-1537 Re Net cash.eml     regarding investor letter.
                                                                 Adam Talbot
                                                                                          Steve
                                                                 Dowling                    ;Sam
                                                                 Whittington                                Matt Blake                                                                                     Email reflecting legal advice of in-house counsel
578           AttorneyClient      2019-01-01 Nancy Paxton                                                   Saori Casey                Net cash                          20190101-1516 Net cash.eml        regarding investor letter.
                                                                                                                                                                         20181231-2111 Re Treasury         Email reflecting legal advice of in-house counsel
579           AttorneyClient      2019-01-01 Saori Casey         Nancy Paxton                                                          Re Treasury input                 input.eml                         regarding investor letter.




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                                                                 Saori Casey                       ;
                                                                 Sam Whittington                                                                                                                                                     Email reflecting legal advice of in-house counsel
580           AttorneyClient      2019-01-01 Nancy Paxton                                                                                                      Treasury input                       20181231-1934 Treasury input.eml regarding investor letter.
                                                                                                                                                                                                    20181231-2125 Re Treasury        Email reflecting legal advice of in-house counsel
581           AttorneyClient      2019-01-01 Saori Casey         Nancy Paxton                                                                                  Re Treasury input                    input.eml                        regarding investor letter.
                                                                 Saori Casey
                                                                 Sam Whittington                                                                                                                    20181231-2119 Re Treasury            Email reflecting legal advice of in-house counsel
582           AttorneyClient      2019-01-01 Nancy Paxton                                                                                                      Re Treasury input                    input.eml                            regarding investor letter.
                                                                                                                                                                                                    20190101-1249 Fwd Customer
                                                                 Sam Whittington                               Nancy Paxton                                    Fwd Customer Activations Week        Activations Week 14 (FQ1 week        Email from employee acting under the direction
583           AttorneyClient      2019-01-01 Saori Casey                                                       Matt Blake                                      14 (FQ1 week 12)                     12).eml                              of in-house counsel regarding investor letter.

                                                                                                               Ph l Schiller
                                                                                                               Gregory Joswiak            ;
                                                                                                               Alex Roman
                                                                                                                                       ; Saor
                                                                                                               Casey                  Nancy                                                                                              Email from employee acting under the direction
                                                                                                               Paxton                 Sam                                                                                                of in-house counsel sent for the purpose of
                                                                                    Luca Maestri               Whittington                                                                      20190101-1921 Re FY19 Q1                 obtalning legal advice regarding guidance
587           AttorneyClient      2019-01-02 Kevan Parekh                                                                                                      Re FY19 Q1 Installed Base Update Installed Base Update.eml                revision.
                                                                                                                                                                                                                                         Document sent from employee acting under the
                                                                                                                                                                                                                                         direction of in-house counsel attached to email
                                                                                                                                                                                                    China FQ1'19 Installed Base          sent for the purpose of obtaining legal advice
588           AttorneyClient      2019-01-02                                                                                                                                                        Summary 1-1-19.pdf                   regarding guidance revision.

                                                                                                               Ph l Schiller
                                                                                                               Gregory Joswiak            ;
                                                                                                               Alex Roman
                                                                                                                                       ; Saor
                                                                                                               Casey                  Nancy                                                                                         Email from employee acting under the direction
                                                                                                               Paxton                 Sam                                                                                           of in-house counsel sent for the purpose of
                                                                                    Luca Maestri               Whittington                                                                          20190101-1330 FY19 Q1 Installed obtalning legal advice regarding guidance
589           AttorneyClient      2019-01-01 Kevan Parekh                                                                                                      FY19 Q1 Installed Base Update        Base Update.eml                 revision.
                                                                                                                                                                                                                                    Document sent from employee acting under the
                                                                                                                                                                                                                                    direction of in-house counsel attached to email
                                                                                                                                                                                                                                    sent for the purpose of obtaining legal advice
590           AttorneyClient                                                                                                                                                                        image1.png                      regarding guidance revision.
                                                                                                                                                                                                                                    Document sent from employee acting under the
                                                                                                                                                                                                                                    direction of in-house counsel attached to email
                                                                                                                                                                                                    InstalledBaseUpdate_FY19Q1_01ja sent for the purpose of obtaining legal advice
591           AttorneyClient                                                                                                                                                                        n19.key                         regarding guidance revision.
                                                                                                                                                                                                                                    Document sent from employee acting under the
                                                                                                                                                                                                                                    direction of in-house counsel attached to email
                                                                                                                                                                                                    Rev by Country - 2.0 12.31.18   sent for the purpose of obtaining legal advice
592           AttorneyClient      2019-01-01                                                                                                                                                        v252pm.pdf                      regarding guidance revision.

                                                                 Matt Blake                            ;
                                                                 Sam Whittington                                                                               Fwd Letter revision - - Privileged   Fwd Letter revision - - Privileged   Email reflecting legal advice of in-house counsel
593           AttorneyClient      2019-01-01 Nancy Paxton                                                                                                      and Confidential                     and Confidential.eml                 regarding investor letter.
                                                                                                                                                                                                                                         Attached draft investor letter reflecting legal
594           AttorneyClient                                                                                                                                                                        01 01 edits 930am.pages              advice from in-house counsel.
                                               Sam Whittington                                                                                                                                                                           Email reflecting legal advice from in-house
602           AttorneyClient      2019-01-02                     Matt Blake                                                                                    Fwd Comments on letter               Fwd Comments on letter.eml           counsel regarding investor letter.
                                                                                                                                                                                                                                         Attached draft investor letter reflecting legal
603           AttorneyClient      2019-01-02                                                                                                                                                        01 01 edits 845 pmpages.pdf          advice from in-house counsel.



                                                                 Luca Maestri
                                                                 Steve Dowling                             ;
                                                                                    ; Sam
                                                                 Whittington

                                                                 Nancy Paxton                              ;
                                                                                      Kate Adams
                                                                                          Jeff
                                                                 Williams                                                                                                                           20190102-0712 Comments on            Email requesting legal advice from in-house
604           AttorneyClient      2019-01-02 Tim Cook                                                                                           Tim Cook       Comments on letter                   letter.eml                           counsel regarding investor letter.
                                                                                                                                                                                                                                         Draft investor letter reflecting legal advice from
                                                                                                                                                                                                                                         in-house counsel attached to email equesting
                                                                                                                                                                                                                                         legal advice from in-house counsel regarding
605           AttorneyClient      2019-01-02                                                                                                                                                        01_01 edits 845 pmpages.pdf          draft Q&A.

                                                                                                               Luca Maestr
                                               Kate Adams        Sam Whittington                               Saori Casey                                     Re Confidential - Draft              20190101-1914 Re Confidential -      Email providing legal advice from in-house
616           AttorneyClient      2019-01-02                                                                   Kyle Andeer                                     Announcement                         Draft Announcement.eml               counsel regarding investor letter.

                                                                 Kate Adams
                                                                                            Luca
                                                                 Maestr                      ; Saori
                                               Sam Whittington   Casey                       Kyle                                                              Re Confidential - Draft              20190101-1909 Re Confidential -      Email providing legal advice from in-house
617           AttorneyClient      2019-01-02                     Andeer                                                                                        Announcement                         Draft Announcement.eml               counsel regarding investor letter.

                                                                                                               Sam Whittington

                                                                 Kate Adams                                    Saori Casey                                     Re Confidential - Draft              20190101-1916 Re Confidential -      Email reflecting legal advice from in-house
618           AttorneyClient      2019-01-02 Luca Maestr                                                       Kyle Andeer                                     Announcement                         Draft Announcement.eml               counsel regarding investor letter.

                                                                                                                                                               Re Back up item - services           20190102-1754 Re Back up item - Email from employee acting under the direction
619           AttorneyClient      2019-01-02 Saori Casey         Kevan Parekh                                  Tim Billups                                     revenue                              services revenue.eml            of in-house counsel regarding investor letter.

                                                                                                                                                               Re Back up item - services           20190102-1624 Re Back up item - Email from employee acting under the direction
620           AttorneyClient      2019-01-03 Kevan Parekh        Saori Casey                                   Tim Billups                                     revenue                              services revenue.eml            of in-house counsel regarding investor letter.




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                                                                                                                                                                                                               Email from employee acting under the direction
                                                                  Kevan Parekh                                                            Fwd Back up item - services          20190102-1307 Fwd Back up item of in-house counsel and forwarding request from
621           AttorneyClient      2019-01-02 Saori Casey          Tim Billups                                                             revenue                              services revenue.eml            in-house counsel regarding investor letter.
                                                                                                                                                                                                               Email responding to employee acting under the
                                                                                                                                                                                                               direction of in-house counsel and forwarding
                                                                                                                                          Re Back up item - services           20190102-1311 Re Back up item - request from in-house counsel regarding
622           AttorneyClient      2019-01-02 Tim B llups          S   iC                                  Kevan Parekh                    revenue                              services revenue.eml            investor letter
                                                                                      Luca Maestri
                                                                                       ; Sam
                                                                  Whittington


                                                                                        Matt Blake
                                                                                                                                                                                                                     Email from employee acting under the direction
                                                                                                                                                                               20190101-1950 Fwd iPhone 6s           of in-house counsel sent for the purpose of
625           AttorneyClient      2019-01-01 Saori Casey                                                  Kevan Parekh                    Fwd iPhone 6s NEP by Country         NEP by Country.eml                    obtaining legal advice regarding investor letter.

                                                                                                                                                                                                               Document prepared by employee acting under
                                                                                                                                                                                                               the direction of in-house counsel attached to
                                                                                                                                                                               iPhone 6s Net Price & Margin -  email sent for the purpose of obtaining legal
626           AttorneyClient      2019-01-01                                                                                                                                   2019-1-1.pdf                    advice regarding investor letter.
                                                                  Kevan Parekh                                                                                                 20190101-1635 Fwd Privileged and
                                                                  Donal Conroy                                                            Fwd Privileged and Confidential      Confidential REVISED investor   Email reflecting legal advice from in-house
629           AttorneyClient      2019-01-01 Saori Casey                                                                                  REVISED investor letter              letter.eml                      counsel regarding investor letter.
                                                                                                                                                                                                               Attached draft investor letter reflecting legal
630           AttorneyClient                                                                                                                                                   01 01 edits 430pm.pages         advice from in-house counsel.
                                                                  Jessie Zhang
                                                                                             Jason                                                                             20190102-0944 Fwd Privileged and
                                                                  Malat                     Ai Ling                                       Fwd Privileged and Confidential      Confidential Final Investor     Email reflecting legal advice from in-house
631           AttorneyClient      2019-01-02 Saori Casey          Loo                                                                     Final Investor Letter                Letter.eml                      counsel regarding investor letter.
                                                                                                                                                                               01_02 Investor Letter 930 am    Attached draft investor letter reflecting legal
632           AttorneyClient                                                                                                                                                   FINAL.pages                     advice from in-house counsel.



                                                                  Tim Cook                    Kate
                                                                  Adams
                                                                  Jeff Williams
                                                                  Steve Dowling                       ;
                                                                  Kyle Andeer
                                                                  Sam Whittington

                                                                  Saori Casey
                                                                  Luca Maestri                                                                                                20190102-0930 Privileged and
                                               Adam Talbot        Nancy Paxton                        ;                                   Privileged and Confidential Final   Confidential Final Investor          Email reflecting legal advice from in-house
633           AttorneyClient      2019-01-02                      Matt Blake                                                              Investor Letter                     Letter.eml                           counsel regarding investor letter.
                                                                                                                                                                              01_02 Investor Letter 930 am         Attached draft investor letter reflecting legal
634           AttorneyClient                                                                                                                                                  FINAL.pages                          advice from in-house counsel.
                                                                                                                                                                              20190102-0953 Re Privileged and
                                                                                                                                          Re Privileged and Confidential Fina Confidential Final Investor          Email reflecting legal advice from in-house
635           AttorneyClient      2019-01-02 Ai Ling Loo          Saori Casey                                                             Investor Letter                     Letter.eml                           counsel regarding investor letter.
                                                                  Jessie Zhang                                                                                                20190102-0958 Re Privileged and
                                                                                            ; Jason                                       Re Privileged and Confidential Fina Confidential Final Investor          Email reflecting legal advice from in-house
636           AttorneyClient      2019-01-02 Saori Casey          Malat                                   Ai Ling Loo                     Investor Letter                     Letter.eml                           counsel regarding investor letter.
                                                                                                                                                                              20190102-0948 Re Privileged and
                                               Jessie Zhang                                               Jason Malat            Ai       Re Privileged and Confidential Fina Confidential Final Investor Letter - Email reflecting legal advice from in-house
637           AttorneyClient      2019-01-02                      Saori Casey                             Ling Loo                        Investor Letter                     1.eml                                counsel regarding investor letter.



                                                                  Adam Talbot
                                                                                           ; Tim Cook
                                                                                      Kate Adams
                                                                                             Jeff
                                                                  Williams
                                                                  Steve Dowling                       ;
                                                                  Kyle Andeer
                                                                  Saori Casey
                                                                  Luca Maestri                                                                                                20190102-1034 Re Privileged and
                                               Sam Whittington    Nancy Paxton                        ;                                   Re Privileged and Confidential Fina Confidential Final Investor     Email reflecting legal advice from in-house
638           AttorneyClient      2019-01-02                      Matt Blake                                                              Investor Letter                     Letter.eml                      counsel regarding investor letter.



                                                                  Adam Talbot
                                                                                           ; Tim Cook
                                                                                      Kate Adams
                                                                                             Jeff
                                                                  Williams
                                                                  Steve Dowling                       ;
                                                                  Kyle Andeer
                                                                  Saori Casey
                                                                  Luca Maestri                                                                                                20190102-1034 Re Privileged and
                                               Sam Whittington    Nancy Paxton                                                            Re Privileged and Confidential Fina Confidential Final Investor     Email reflecting legal advice from in-house
639           AttorneyClient      2019-01-02                      Matt Blake                                                              Investor Letter                     Letter.eml                      counsel regarding investor letter.
                                                                  Kevan Parekh                                                                                                20190102-0948 Fwd Privileged and
                                                                  Donal Conroy                                                            Fwd Privileged and Confidential     Confidential Final Investor     Email reflecting legal advice from in-house
640           AttorneyClient      2019-01-02 Saori Casey                                                                                  Final Investor Letter               Letter.eml                      counsel regarding investor letter.
                                                                                                                                                                              01_02 Investor Letter 930 am    Attached draft investor letter reflecting legal
641           AttorneyClient                                                                                                                                                  FINAL.pages                     advice from in-house counsel.




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                                                                                            Steve Dowling
                                                                                            Sam Whittington

                                                                                            Saori Casey
                                                                                            Kate Adams
                                                                                                                    Jeff
                                                                                            Williams
                                                                                            Nancy Paxton                                                        20190101-2029 Re Privileged and
                                                                 Adam Talbot                Matt Blake                         Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
651           AttorneyClient      2019-01-01 Luca Maestr                                    Kyle Andeer                        REVISED investor letter          letter.eml                      counsel regarding investor letter.

                                                                                            Saori Casey
                                                                                            Kate Adams
                                                                                                                    Jeff
                                                                 Luca Maestri               Williams
                                                                 Steve Dowling              Nancy Paxton                                                        20190101-1756 Re Privileged and
                                               Adam Talbot       Sam Whittington            Matt Blake                         Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
652           AttorneyClient      2019-01-01                                                Kyle Andeer                        REVISED investor letter          letter.eml                      counsel regarding investor letter.


                                                                                            Sam Whittington

                                                                                            Adam Talbot
                                                                                                                   Saori
                                                                                            Casey                   Kate
                                                                                            Adams
                                                                                            Jeff Williams
                                                                                            Nancy Paxton                                                        20190101-1750 Re Privileged and
                                                                                            Matt Blake                         Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
653           AttorneyClient      2019-01-01 Luca Maestr         Steve Dowling              Kyle Andeer                        REVISED investor letter          letter.eml                      counsel regarding investor letter.

                                                                                            Adam Talbot
                                                                                                                   Saori
                                                                                            Casey                   Kate
                                                                                            Adams
                                                                                            Jeff Williams
                                                                 Luca Maestri               Nancy Paxton                                                        20190101-1748 Re Privileged and
                                                                 Sam Whittington            Matt Blake                         Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
654           AttorneyClient      2019-01-01 Steve Dowling                                  Kyle Andeer                        REVISED investor letter          letter.eml                      counsel regarding investor letter.



                                                                                            Adam Talbot
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                                                                                            Casey                   Kate
                                                                                            Adams
                                                                                            Jeff Williams
                                                                                            Steve Dowling
                                                                                            Nancy Paxton                                                        20190101-1735 Re Privileged and
                                                                 Sam Whittington            Matt Blake                         Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
655           AttorneyClient      2019-01-01 Luca Maestr                                    Kyle Andeer                        REVISED investor letter          letter.eml                      counsel regarding investor letter.


                                                                                            Saori Casey
                                                                                            Kate Adams
                                                                                                                   Jeff
                                                                                            Williams
                                                                                            Steve Dowling
                                                                 Adam Talbot                Nancy Paxton                                                        20190101-1703 Re Privileged and
                                               Sam Whittington                       Luca   Matt Blake                         Re Privileged and Confidential   Confidential REVISED investor   Email providing legal advice from in-house
656           AttorneyClient      2019-01-01                     Maestr                     Kyle Andeer                        REVISED investor letter          letter.eml                      counsel regarding investor letter.



                                                                                            Saori Casey
                                                                                            Luca Maestr
                                                                                            Kate Adams
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                                                                                            Williams
                                                                                            Steve Dowling
                                                                                            Nancy Paxton                                                        20190101-1648 Re Privileged and
                                               Adam Talbot       Sam Whittington            Matt Blake                         Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
657           AttorneyClient      2019-01-01                                                Kyle Andeer                        REVISED investor letter          letter.eml                      counsel regarding investor letter.

                                                                                            Saori Casey
                                                                                            Luca Maestr
                                                                                            Kate Adams
                                                                                                                   Jeff
                                                                                            Williams
                                                                                            Steve Dowling
                                                                                            Nancy Paxton                                                        20190101-1636 Re Privileged and
                                               Sam Whittington   Adam Talbot                Matt Blake                         Re Privileged and Confidential   Confidential REVISED investor   Email providing legal advice from in-house
658           AttorneyClient      2019-01-01                                                Kyle Andeer                        REVISED investor letter          letter.eml                      counsel regarding investor letter.




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                                                                                                  Jeff Williams
                                                                                                  Steve Dowling
                                                                                                  Nancy Paxton
                                                                  Saori Casey                     Sam Whittington
                                                                  Luca Maestri                ;                                                                        20190101-1632 Re Privileged and
                                               Adam Talbot        Kate Adams                      Matt Blake                          Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
659           AttorneyClient      2019-01-01                                                      Kyle Andeer                         REVISED investor letter          letter.eml                      counsel regarding investor letter.
                                                                                                                                                                                                       Attached draft investor letter reflecting legal
660           AttorneyClient                                                                                                                                           01 01 edits 430pm.pages         advice from in-house counsel.


                                                                                                  Adam Talbot
                                                                                                                         Jeff
                                                                                                  Williams
                                                                                                  Steve Dowling
                                                                                                  Kate Adams
                                                                                                                         Nancy
                                                                                                  Paxton                  Sam
                                                                                                  Whittington
                                                                                                                                                                       20190101-1617 Re Privileged and
                                                                                                  Matt Blake                          Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
661           AttorneyClient      2019-01-01 Saori Casey          Luca Maestri                    Kyle Andeer                         REVISED investor letter          letter.eml                      counsel regarding investor letter.


                                                                                                  Adam Talbot
                                                                                                                         Jeff
                                                                                                  Williams
                                                                                                  Steve Dowling
                                                                                                  Kate Adams
                                                                                                                         Nancy
                                                                                                  Paxton                  Sam
                                                                                                  Whittington
                                                                                                                                                                       20190101-1615 Re Privileged and
                                                                                                  Matt Blake                          Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
662           AttorneyClient      2019-01-01 Luca Maestr          Saori Casey                     Kyle Andeer                         REVISED investor letter          letter.eml                      counsel regarding investor letter.


                                                                                                  Nancy Paxton
                                                                  Luca Maestri                ;   Sam Whittington
                                                                  Jeff Williams
                                                                  Steve Dowling                   Saori Casey                                                          20190101-1608 Privileged and
                                               Adam Talbot        Kate Adams                      Matt Blake                          Privileged and Confidential      Confidential REVISED investor      Email reflecting and requesting legal advice from
664           AttorneyClient      2019-01-01                                                      Kyle Andeer                         REVISED investor letter          letter.eml                         in-house counsel regarding investor letter.
                                                                                                                                                                                                          Attached draft investor letter reflecting legal
665           AttorneyClient                                                                                                                                           01 01 edits 400pm.pages            advice from in-house counsel.


                                                                                                  Adam Talbot
                                                                                                                         Saori
                                                                                                  Casey                   Luca
                                                                                                  Maestri                  Jeff
                                                                                                  Williams
                                                                                                  Steve Dowling
                                                                                                  Nancy Paxton                                                         20190101-1638 Re Privileged and
                                               Kate Adams         Sam Whittington                 Matt Blake                          Re Privileged and Confidential   Confidential REVISED investor   Email reflecting legal advice from in-house
666           AttorneyClient      2019-01-01                                                      Kyle Andeer                         REVISED investor letter          letter.eml                      counsel regarding investor letter.
                                                                                                                                                                                                       Email from employee acting under the direction
                                                                                                  Jason Malat                                                                                          of in-house counsel regarding investor letter and
                                                                                                  Jessie Zhang                        Re Back up item - services       20190102-1253 Re Back up item - reflecting legal advice from in-house counsel
670           AttorneyClient      2019-01-02 Nate Barton          Saori Casey                                                         revenue                          services revenue.eml            regarding the same.
                                                                                                                                                                                                       Document sent from employee acting under the
                                                                                                                                                                                                       direction of in-house counsel regarding investor
                                                                                                                                                                                                       letter and reflecting legal advice from in-house
671           AttorneyClient                                                                                                                                           PastedGraphic-8.png             counsel regarding the same.
                                                                                                                                                                                                       Email from employee acting under the direction
                                                                                                                                                                                                       of in-house counsel regarding investor letter and
                                                                  Nate Barton                 ;   Jessie Zhang                        Re Back up item - services       20190102-1251 Re Back up item - reflecting legal advice from in-house counsel
672           AttorneyClient      2019-01-02 Saori Casey          Jason Malat                                                         revenue                          services revenue.eml            regarding the same.
                                                                                                                                                                                                       Email from employee acting under the direction
                                                                                                                                                                                                       of in-house counsel regarding investor letter and
                                               Jessie Zhang                                                                           Re Back up item - services       20190102-1316 Re Back up item - reflecting legal advice from in-house counsel
673           AttorneyClient      2019-01-02                      Saori Casey                     Jason Malat                         revenue                          services revenue.eml            regarding the same.

                                                                  Adam Talbot                     Nancy Paxton
                                               Sam Whittington                        Steve       Matt Blake                          Re Privileged and Confidential   Re Privileged and Confidential     Email providing legal advice from in-house
681           AttorneyClient      2019-01-02                      Dowling                         Saori Casey                         Revised Letter Draft             Revised Letter Draft.eml           counsel regarding investor letter.
                                                                                                                                                                                                          Draft investor letter reflecting legal advice from
                                                                                                                                                                                                          in-house counsel attached to email providing
                                                                                                                                                                       sw edits to 01_01 edits 845        legal advice from in-house counsel regarding
682           AttorneyClient                                                                                                                                           pm.pages                           investor letter.




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                                                                    Tim Cook                Kate
                                                                    Adams
                                                                    Jeff Williams
                                                                    Steve Dowling                  ;
                                                                    Kyle Andeer
                                                                    Sam Whittington

                                                                    Saori Casey
                                                                    Luca Maestri                                                                                               20190101-2057 Privileged and
                                               Adam Talbot          Nancy Paxton                   ;                                       Privileged and Confidential Revised Confidential Revised Letter           Email reflecting legal advice from in-house
683           AttorneyClient      2019-01-01                        Matt Blake                                                             Letter Draft                        Draft.eml                             counsel regarding investor letter.

                                                                                                       Nancy Paxton
                                                                    Sam Whittington                    Matt Blake                          Re Back up item - services           20190102-1300 Re Back up item - Email requesting legal advice from in-house
686           AttorneyClient      2019-01-02 Saori Casey                                               Jason Malat                         revenue                              services revenue.eml            counsel regarding investor letter.
                                                                                                                                                                                                                Attached document prepared by employee
                                                                                                                                                                                                                acting under the direction of in-house counsel
                                                                                                                                                                                                                sent for the purpose of obtaining legal advice
687           AttorneyClient                                                                                                                                                    PastedGraphic-9.png             regarding investor letter.
                                                                    Sam Whittington                    Saori Casey                         Re Back up item - services           20190102-1234 Re Back up item - Email requesting legal advice from in-house
688           AttorneyClient      2019-01-02 Nancy Paxton                                              Matt Blake                          revenue                              services revenue.eml            counsel regarding investor letter.

                                                                                                                                                                                Apple_Q1_2016_Earnings_Supple Attached document sent for the purpose of
689           AttorneyClient      2016-01-26                                                                                                                                    ment.pdf                      obtaining legal advice regarding investor letter.

                                                                                                       Nancy Paxton
                                               Sam Whittington                                         Matt Blake                          Re Back up item - services           20190102-1301 Re Back up item - Email providing legal advice from in-house
690           AttorneyClient      2019-01-02                        Saori Casey                        Jason Malat                         revenue                              services revenue.eml            counsel regarding investor letter.
                                               Sam Whittington                                         Saori Casey                         Re Back up item - services           20190102-1235 Re Back up item - Email providing legal advice from in-house
691           AttorneyClient      2019-01-02                        Nancy Paxton                       Matt Blake                          revenue                              services revenue.eml            counsel regarding investor letter.
                                                                                                                                                                                                                Email from employee acting under the direction
                                                                                                                                                                                                                of in-house counsel regarding investor letter and
                                                                                                                                           Fwd Back up item - services          20190102-1310 Fwd Back up item reflecting legal advice from in-house counsel
692           AttorneyClient      2019-01-02 Saori Casey            Nate Barton                                                            revenue                              services revenue.eml            regarding the same.
                                                                                                                                                                                                                Attached document prepared by employee
                                                                                                                                                                                                                acting under the direction of in-house counsel
                                                                                                                                                                                                                sent for the purpose of obtaining legal advice
693           AttorneyClient                                                                                                                                                    PastedGraphic-9.png             regarding investor letter.

                                                                    Steve Dowling                  ;
                                               Adam Talbot          Sam Whittington                                                        Fwd Privileged and Confidential      Fwd Privileged and Confidential      Email reflecting legal advice from in-house
703           AttorneyClient      2019-01-02                                                                                               Final Investor Letter for Upload     Final Investor Letter for Upload.eml counsel regarding investor letter.
                                                                                                                                                                                01_02 Investor Letter 1000 am        Attached investor letter reflecting legal advice
704           AttorneyClient                                                                                                                                                    FINAL.pages                          from in-house counsel.
                                                                    Sam Whittington

                                               Adam Talbot          Rachel Wo f Tulley                                                     Privileged and Confidential Final    Privileged and Confidential Final    Email reflecting legal advice from in-house
705           AttorneyClient      2019-01-02                                                           Steve Dowling                       Investor Letter for Upload           Investor Letter for Upload.eml       counsel regarding investor letter.
                                                                                                                                                                                01_02 Investor Letter 1000 am        Attached investor letter reflecting legal advice
706           AttorneyClient                                                                                                                                                    FINAL.pages                          from in-house counsel.
                                                                    Steve Dowling
                                                                    Adam Talbot
                                                                                         ;Sam
                                               Rachel Wolf Tulley   Whittington                                                            Re Privileged and Confidential Fina Re Privileged and Confidential Fina Email reflecting legal advice from in-house
707           AttorneyClient      2019-01-02                                                                                               Investor Letter for Upload          Investor Letter for Upload.eml      counsel regarding investor letter.
                                                                                                                                                                                                                   Attached investor letter reflecting legal advice
708           AttorneyClient                                                                                                                                                   010219 Press Release.pages          from in-house counsel.

                                                                                                       Sam Whittington
                                               Rachel Wolf Tulley   Adam Talbot                                                            Re Privileged and Confidential Fina Re Privileged and Confidential Fina Email reflecting legal advice from in-house
709           AttorneyClient      2019-01-02                                                           Steve Dowling                       Investor Letter for Upload          Investor Letter for Upload.eml      counsel regarding investor letter.
                                                                                                                                                                                                                   Attached draft investor letter reflecting legal
710           AttorneyClient                                                                                                                                                   010219 Press Release.pages          advice from in-house counsel.
                                                                    Jessie Zhang                                                                                               20181231-1404 Fwd Letter            Email reflecting legal advice from in-house
951           AttorneyClient      2018-12-31 Saori Casey                                                                                   Fwd Letter revision                 revision.eml                        counsel regarding investor letter.



                                                                    Kate Adams
                                                                                         ; Kyle
                                                                    Andeer                    ; Sam
                                                                    Whittington
                                                                                              Jeff
                                                                    Williams                  Saor
                                                                    Casey                  Luca
                                                                    Maestr                  Nancy
                                                                    Paxton                  Steve
                                                                    Dowling                  Adam                                                                                                                    Email requesting legal advice from in-house
952           AttorneyClient      2019-01-01 Tim Cook               Talbo                                                                  Re Draft #2                          Re Draft #2.eml                      counsel regarding investor letter.
                                                                                                       Kate Adams                                                                                                    Email requesting legal advice from in-house
953           AttorneyClient      2019-01-01 Luca Maestr            Tim Cook                                                               Re Draft #2                          Re Draft #2.eml                      counsel regarding investor letter.

                                                                    Adam Talbot
                                                                                         ;Sam
                                                                    Whittington                                                                                                                                      Email sent from employee acting under the
                                                                                                                                                                                                                     direction of in-house counsel regarding investor
961           AttorneyClient      2019-01-01 Nancy Paxton           Steve Dowling                      Matt Blake                          Christmas Day records                Christmas Day records.eml            letter.
                                                                                                                                                                                                                     Email sent from employee acting under the
                                                                                                       Ed Tharp               ; Andy                                                                                 direction of in-house counsel regarding investor
962           AttorneyClient      2019-01-01 Kevan Parekh           Saori Casey                        Allen                               iPhone 6s NEP by Country             Q1 QA 1-1pages 1.pdf                 letter.




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              A                    B                      C            D                      E                   F                                  G              H                   I                                J                                        K



                                                                                                  Tim Cook             ; Luca
                                                                                                  Maestr               ;Sam
                                                                                                  Whittington

                                                                                                  Nancy Paxton                   ;
                                                                                                  Steve Dowling                  ;
                                                                                                  Matt Blake                 ;                                                                                                             Email sent by employee acting under the
                                                                                                  Kate Adams                                                                                                                               direction of in-house counsel for the purpose of
                                                                                                                                                                                                                                           obtaining legal advice regarding guidance
963                                            AttorneyClient      2019-01-02 Saori Casey                                            Kevan Parekh                       Fwd iPhone 6s NEP by Country     Q1 QA 1-1pages 1.pdf              revision.
                                                                                                                                                                                                                                           Document prepared by employee acting under
                                                                                                                                                                                                                                           the direction of in-house counsel attached to
                                                                                                                                                                                                                                           email sent for the purpose of obtaining legal
                                                                                                                                                                                                         iPhone 6s Net Price & Margin -
                                                                                                                                                                                                                                           advice regarding guidance revision.
964                                            AttorneyClient      2019-01-01                                                                                                                            2019-1-1.pdf


                                                                                                                                     Sam Whittington

                                                                                                                                     Adam Talbot
                                                                                                                                                            Saori
                                                                                                                                     Casey                   Kate
                                                                                                                                     Adams
                                                                                                                                     Jeff Williams
                                                                                                                                     Nancy Paxton
                                                                                                                                     Matt Blake                         Re Privileged and Confidential   Re Privileged and Confidential    Email reflecting legal advice from in-house
965                                            AttorneyClient      2019-01-02 Luca Maestr         Steve Dowling                      Kyle Andeer                        REVISED investor letter          REVISED investor letter.eml       counsel regarding investor letter.


                                                                                                                                     Adam Talbot
                                                                                                                                                            Saori
                                                                                                                                     Casey                   Kate
                                                                                                                                     Adams
                                                                                                                                     Jeff Williams
                                                                                                  Luca Maestri               ;       Nancy Paxton
                                                                                                  Sam Whittington                    Matt Blake                         Re Privileged and Confidential   Re Privileged and Confidential    Email reflecting legal advice from in-house
966                                            AttorneyClient      2019-01-02 Steve Dowling                                          Kyle Andeer                        REVISED investor letter          REVISED investor letter.eml       counsel regarding investor letter.



                                                                                                                                     Adam Talbot
                                                                                                                                                            Saori
                                                                                                                                     Casey                   Kate
                                                                                                                                     Adams
                                                                                                                                     Jeff Williams
                                                                                                                                     Steve Dowling
                                                                                                                                     Nancy Paxton
                                                                                                  Sam Whittington                    Matt Blake                         Re Privileged and Confidential   Re Privileged and Confidential    Email requesting legal advice from in-house
967                                            AttorneyClient      2019-01-02 Luca Maestr                                            Kyle Andeer                        REVISED investor letter          REVISED investor letter.eml       counsel regarding investor letter.


                                                                                                                                     Saori Casey
                                                                                                                                     Kate Adams
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                                                                                                                                     Williams
                                                                                                                                     Steve Dowling
                                                                                                  Adam Talbot                        Nancy Paxton
                                                                                Sam Whittington                       Luca           Matt Blake                         Re Privileged and Confidential   Re Privileged and Confidential    Email providing legal advice from in-house
968                                            AttorneyClient      2019-01-02                     Maestr                             Kyle Andeer                        REVISED investor letter          REVISED investor letter.eml       counsel regarding investor letter.



                                                                                                                                     Saori Casey
                                                                                                                                     Luca Maestr
                                                                                                                                     Kate Adams
                                                                                                                                                            Jeff
                                                                                                                                     Williams
                                                                                                                                     Steve Dowling
                                                                                                                                     Nancy Paxton
                                                                                Adam Talbot       Sam Whittington                    Matt Blake                         Re Privileged and Confidential   Re Privileged and Confidential Email reflecting legal advice from in-house
969                                            AttorneyClient      2019-01-02                                                        Kyle Andeer                        REVISED investor letter          REVISED investor letter.eml    counsel regarding investor letter.
                                                                                                                                                                                                         Apple_Q1_2016_Earnings_Supple Attached draft investor letter reflecting legal
970                                            AttorneyClient      2016-01-26                                                                                                                            ment.pdf                       advice from in-house counsel.
                                                                                                                                                                                                                                        Email sent by employee acting under the
                                                                                                                                                                                                                                        direction of in-house counsel for the purpose of
                                                                                                                                                                        Fwd FY19 Q1 Insta led Base       Fwd FY19 Q1 Installed Base     obtaining legal advice regarding guidance
977                                            AttorneyClient      2019-01-02 Kevan Parekh        Mark Y Tian                                                           Update                           Update.eml                     revision.

                                                                                                                                                                                                                                           Document prepared by employee acting under
                                                                                                                                                                                                                                           the direction of in-house counsel attached to
                                                                                                                                                                                                                                           email sent for the purpose of obtaining legal
978                                            AttorneyClient                                                                                                                                                                              advice regarding guidance revision.

                                                                                                                                                                                                                                           Document prepared by employee acting under
                                                                                                                                                                                                                                           the direction of in-house counsel attached to
                                                                                                                                                                                                                                           email sent for the purpose of obtaining legal
979                                            AttorneyClient                                                                                                                                                                              advice regarding guidance revision.

                                                                                                                                                                                                                                           Redacted draft document reflecting legal advice
1610 APL-SECLIT_00028864 APL-SECLIT_00028868 AttorneyClient                                                                                                                                              01_02 edits 800 am .pages         from in-house counsel regarding investor letter.




                                                                                                                                            Page 18 of 18
